Case 01-01139-AMC    Doc 24156-2    Filed 01/15/10   Page 1 of 44




                         EXHIIT 1

                    Form of Facilty Order
                 Case 01-01139-AMC                         Doc 24156-2         Filed 01/15/10   Page 2 of 44




                              IN THE UNITED STATES BANKRUPTCY COURT
                                          FOR THE DISTRICT OF DELAWAR


                                                               )      Chapter 11
In re:
                                                               )
                                                               )       Case No. 01-01139
W.R. GRACE & CO., et all,
                                                               )
                      Debtors.                                 )       Jointly Administered


                     FINAL ORDER AUTHORIZING SECURD POST-PETITION
                     LETTER OF CREDIT FACILITY AND HEDGING AN SWAP
                    ARGEMENTS ON A SUPERPRlORlTY BASIS PURSUANT
                           TO 11 U.S.C. § 364, AND GRANTING RELIEF FROM
                          THE AUTOMATIC STAY PURSUANT TO 11 U.S.C. § 362

                        The above-captioned debtors and debtors in possession (collectively, the

 "Debtors") fied a motion (the "Motion") dated January _,2010 seeking this Court's
                                                                                                the Bankptcy Code,
 authorization pursuant to sections 364(c)(l), 364(c)(2), and 364(c)(3) of




             The Debtors are the following entities: W. R. Grace & Co. (flkJa Grace Specialty Chemicals, Inc.), W.
             R. Grace & Co.-Conn., A-I Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation,
             Amicon, Inc., CB Biomedical, Inc. (fla Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc.,
             Coalgrace II, Inc., Creative Food 'N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants,
             Inc., Dewey & Almy, LLC (flkJa Dewey & Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., G
             C Limited Partners I, Inc. (f/ka Grace Cocoa Limited Parters I, Inc.), G C Management, Inc. (fla
             Grace Cocoa Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC
             Thomasvile Corp., Gloucester New Communities Company, Inc., Grace A-B Inc., Grace A-B II Inc.,
              Grace Chemical Company of
                                             Cuba, Grace Culinary Systems, Inc., Grace Drillng Company, Grace
              Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II
              Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (fla Dearborn
              International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace Petroleum
              Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W.
              R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc.,
              Guanica-Caribe Land Development Corporation, Hanover Square Corporation, Homco International,
              Inc., Kootenai Development Company, L B Realty, Inc., Litigation Management, Inc. (f/kla GHSC
              Holding, Inc., Grace NH, Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated,
              Monroe Street, Inc., MR Holdings Corp. (flkJa Nestor-BNA Holdings Corporation), MRA
              Intermedco, Inc. (flkJa Nestor-BNA, Inc.), MRA Staffng Systems, Inc. (flkla British Nursing
              Association, Inc.), Remedium Group, Inc. (flkJa Environmental Liabilty Management, Inc., E&C
               Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street
               Corporation, Axial Basin Ranch Company, CC Partners (f/kla Cross Country Staffing), Hayden-Gulch
               West Coal Company, H-G Coal Company.


    CH\1141003.3
                   Case 01-01139-AMC                         Doc 24156-2                Filed 01/15/10   Page 3 of 44




11 U. S. C. §§ 101-1330 (the "Bankruptcy Code") and Rules 2002, 4001(c) and 9014 ofthe

Federal Rules of           Bankptcy Procedure (the "Bankruptcy Rules"), for W. R. Grace & Co.-

Conn. ("Grace"), inter alia, (i) to obtain post-petition financing in the form of a letter of credit

facility (the "Post-Petition Facilty") in an amount not to exceed $100,000,000 (the

"Commitment"), under the Post-Petition Letter of Credit Facility Agreement among Grace, as
                                                                                                                   Credit Issuers
the Account Part, Bank of America, N.A. ("BorA"), as the Agent for the Letter of




(the "Agent"), (ii) to enter into hedging and swap arrangements (the "Hedging Arrangements")

as set forth in the Swap Documents, (iii)to execute the Post-Petition Letter of
                                                                                                              Credit Facility

Agreement (as amended, supplemented or otherwise modified from time to time, the "Facilty

Agreement;" terms not otherwise defined herein shall have the meaning ascribed to them in the

 Facility Agreement), (iv) to execute the Swap Documents, including but not limited to the ISDA

 Master Agreement, dated as of between Bank of America, N.A. and Grace,

 (v) to execute all related documents contemplated by the Facility Agreement, together with the

 Facility Agreement, and all ancilary documents at any time executed in connection therewith,

 including but not limited to the Letter of Credit Documents and the Swap Documents,

 collectively, the "Facilty Documents"); (vi) to grant pursuant to section 364 of
                                                                                                                the Bankptcy

 Code, first priority liens and security interests, senior to any and all other liens and security
                                                                                                                           the
  interests as follows: (a) as security for all L/C Obligations, to the Agent, for the benefit of




  Agent, the Letter of            Credit Issuers and, subject to Section 3.3(b) of
                                                                                                    the Facility Agreement, the

  other holders of the. Obliglltions, a continuing security interest in, lien on, and right of set-off

  against the L/C Cash Collateral Account, all money, cash, Cash Equivalents or other propert

  deposited in or credited to the LtC Cash Collateral Account, and all accessions to, substitutions

  for and replacements, products and proceeds of any of the foregoing and, subject to Section



                                                                                   2
   CH\1141003.3
                   Case 01-01139-AMC                         Doc 24156-2                 Filed 01/15/10     Page 4 of 44




                                                                                                                        set-off
3.3(b) of     the Facility Agreement, a continuing securty interest in, lien on, and right of




against the FIX Hedge Cash Collateral Account, the Commodity Hedge Cash Collateral Account,

all money, cash, Cash Equivalents or other propert deposited in or credited thereto and all

accessions to, substitutions for and replacements, products and proceeds of any of the foregoing;
                                                                                                               the Agent, the
(b) as security for all FIX Hedge Obligations, to the Agent, for the benefit of


                                                                                                          the Facility Agreement,
 holders ofthe FIX Hedge Obligations and, subject to Section 3.3(b) of




 the other holders ofthe Obligations, a continuing security interest in, lien on, and right of set-off

 against the FIX Hedge Cash Collateral Account, all money, cash, Cash Equivalents or other

 propert deposited in or credited to the FIX Hedge Cash Collateral Account, and all accessions
                                                                                                 any of   the foregoing and, subject
  to, substitutions for and replacements, products and proceeds of




  to Section 3.3(b) of            the Facility Agreement, a continuing security interest in, lien on, and right of

  set-off against the LlC Cash Collateral Account, the Commodity Hedge Cash Collateral Account,

  all money, cash, Cash Equivalents or other propert deposited in or credited thereto and all

   accessions to, substitutions for and replacements, products and proceeds of any of the foregoing;

   and (c) as security for all Commodity Hedge Obligations, to the Agent, for the benefit of the
                                                                                              the
   Agent, the holders ofthe Commodity Hedge Obligations and, subject to Section 3.3(b) of




   Facility Agreement, the other holders of the Obligations, a continuing security interest in, lien

    on, and right of set-off against the Commodity Hedge Cash Collateral Account, all money, cash,

    Cash Equivalents or other propert deposited in or credited to the Commodity Hedge Cash

    Collateral Account, and all accessions to, substitutions for and replacements, products and

                                   the foregoing and, subject to Section 3.3(b) of
                                                                                                     the Facility Agreement, a
    proceeds of          any of




    continuing security interest in, lien on, and right of set-off against the LlC Cash Collateral

     Account, the FIX Hedge Cash Collateral Account, all money, cash, Cash Equivalents or other



                                                                                     3
      CH\1141003.3
                   Case 01-01139-AMC                   Doc 24156-2                 Filed 01/15/10       Page 5 of 44




propert deposited in or credited thereto and all accessions to, substitutions for and replacements,

                                               the foregoing; (vii) to grant the Agent, the Letter of
                                                                                                                 Credit
products and proceeds of any of




Issuers and the other holders of Obligations administrative super-priority in payment with respect

to such obligations over any and all administrative expenses of the kinds specified in sections

503(b), 507(b) and 546(c) of
                                             the Bankptcy Code; and (viii) to set a hearng on the Motion (the

"Final Hearing"). Due and proper notice of
                                                                    the Motion pursuant to Bankptcy Rule 4001 has

been given as set forth below. The Court having further considered the Motion and any

 objections thereto, and upon the entire record made at the Final Hearing, and this Court having

 found good and sufficient cause,

                         IT is HEREBY FOUND AND CONCLUDED that:

                         A. On April            2, 2001 (the "Petition Date"), the Debtors each filed a voluntary


 petition for relief           with this Court under chapter 11 ofthe Bankptcy Code (the "Chapter 11

  Cases"). The Debtors are continuing in possession oftheir propert, and operating and managing

  their businesses, as debtors in possession, pursuant to sections 1107 and 1108 of the Bankptcy

  Code.

                          B. This Court has jurisdiction over the Chapter 11 Cases and the Motion


  pursuant to 28 U.S.C. §§ 157(b) and 1334. The Motion presents a core proceeding as defined in

   28 U.S.c. § 157(b)(2).


                           C. The Debtors do not have suffcient available sources of working capital

   and financing lo carry 011 the opcration of their businesses in their current state without the

   financial accommodations provided for in the Facility Agreement and the Swap Documents. The

   Debtors' access to letters of credit as contemplated by the Facility Agreement and to Hedging

   Arangements as contemplated by the Swap Documents is essential to the Debtors' continued



                                                                            4
     CH\1141003.3
                     Case 01-01139-AMC                       Doc 24156-2                Filed 01/15/10   Page 6 of 44




viability. In addition, the Debtors' need for access to these financial accommodations is

immediate. Without the financial accommodations contemplated herein and in the Facility

Documents, the continued operation of the Debtors' businesses in their current state would not

be possible, and serious and irreparable harm to the Debtors and their estates would occur. The

preservation, maintenance and enhancement of the going concern value of the Debtors, as well as

the protection of the interests of others as described herein, are of the utmost significance and

importance to a successful reorganization of the Debtors under chapter 11 of the Bankptcy

Code.

                        D. Given the Debtors' current financial condition and capital structure, the

Debtors are unable to sustain their current operations with the use of cash otherwise available
                                                                                                                        the
 and are unable to obtain suffcient unsecured credit allowable under section 503(b)(1) of




 Bankptcy Code as an administrative expense. The post-petition credit accommodations

 contemplated herein and in the Facility Documents is not otherwise available without the

 Debtors' granting, pursuant to section 364(c)(I) of
                                                                                    the Bankptcy Code, claims having priority

 over any and all administrative expenses of
                                                                        the kinds specified in sections 503(b), 507(b), and

 546( c) of the Bankptcy Code, and securing such indebtedness and obligations with the security

 interests in and the liens upon the propert described below pursuant to sections 364(c)(2) and

  (c )(3).

                          E. Notice of                 the relief    requested in the Motion, the Final Hearing and the

  proposed form of             this Order has been given to: (a) the office ofthe United States Trustee; (b)

  counsel to the Agent; (c) counsel to JP Morgan Chase Bank N.A. as agent for the Debtors'

  prepetition lenders; (d) counsel to each of the offcial committees appointed in these Chapter 11

  Cases (the "Committees"); (e) counsel to the Asbestos Personal Injury and Asbestos Propert



                                                                                5
   CH\1141003.3
                    Case 01-01139-AMC                       Doc 24156-2                Filed 01/15/10            Page 7 of 44




Damage Future Claimants' Representatives (the "Asbestos Representatives"); (f) those parties

that requested service and notice of
                                                        papers in accordance with Fed. R. Bank. P. 2002; and (h) all

known domestic secured creditors of
                                                           the Debtor and holders of                    Prior Claims (defined below).

                                                                                                                                    the
Based upon all of            the foregoing, sufficient and adequate notice under the circumstances of




Motion, the Interim Order, and this Order has been given pursuant to sections 102(1), 364(c), and

364(d) of       the Bankptcy Code, and Bankptcy Rules 2002 and 4001(c).

                        F. The Post-Petition Facility has been negotiated in good faith and at ars-


length among the Debtors and BofA (as Agent and as a Letter of
                                                                                                          Credit Issuer), and any credit

 accommodations (including Bank Products) extended and letters of credit issued for the account

 ofthe Debtors pursuant to the Facility Agreement ("Letters of Credit") or financial

 accommodations provided pursuant to the Facility Documents shall be deemed to have been

 extended, issued or made, as the case may be, in good faith as required by, and within the

 meaning of section 364( e) of the Bankptcy Code, and the Agent and the Letter of Credit

 Issuers are entitled to the protections of section 364( e) of the Bankptcy Code.

                          G. The terms of                 the Post-Petition Facility and the Facility Documents are fair

  and reasonable, reflect the Debtors' exercise of
                                                                              prudent business judgment consistent with their

  fiduciary duties, and are supported by reasonably equivalent value and fair consideration.

                          H. This Court concludes that entr of this Order is in the best interests of the

  Debtors' estates and creditors because its implementation, among other things, will allow for the

  availabilty to ili~ Debtors of a lettcr of credit facility and other financial accommodations that

   are necessary to sustain the operations of the Debtors' existing businesses and enhance the

   Debtors' prospects for successful reorganization.




                                                                                6
    CH\1141003.3
                  Case 01-01139-AMC                             Doc 24156-2           Filed 01/15/10   Page 8 of 44




                      i. Each of the foregoing findings by the Court wil be deemed a finding of


fact if and to the full extent that it makes and contains factual findings and a conclusion of law if

and to the full extent that it makes legal conclusions.

                       Based upon the foregoing findings and conclusions, and upon the record made

before this Court at the Final Hearing, and good and suffcient cause appearing therefor,

                       IT is HEREBY ORDERED that:

                        1. The Motion is granted, subject to the terms and conditions set forth in this

Order and any objections to the
                                                     entry of     this Order are resolved hereby or, to the extent not

resolved, are overrled.

                        2. The Debtors are each authorized and obligated on a final basis to comply


 with and perform, and are bound by, all of
                                                                       the terms, conditions and waivers contained in the

 Facility Documents, and the Debtors are each authorized and obligated to repay amounts owed,

 with interest and any other allowed charges, to the Agent and Letter of Credit Issuers and holders

 of other Obligations in accordance with and subject to the terms and conditions set forth in the

 Facility Documents and this Order. None of
                                                                             the Facility Documents nor this Order, nor any

 provision of any thereof, nor any right arising under any thereof, shall be voidable or avoidable

  under section 548 of the Bankptcy Code or under any applicable State Uniform Fraudulent

  Transfer Act, Uniform Fraudulent Conveyance Act or similar statute or common law. The

  Debtors are further authorized and obligated to pay all facility, commitment, letter of credit,
                                                                                                        the Facility Documents,
   unused line and other fees and expenses in accordance with the terms of




   including, without limitation, a $250,000 Facility Fee due and payable upon entr ofthis Order,

                                              $75,000 due and payable upon entry of
                                                                                                 this Order, and all reasonable
   an Administration Fee of




                                                                                  7
    CH\1141003.3
                     Case 01-01139-AMC                      Doc 24156-2                  Filed 01/15/10    Page 9 of 44




fees and expenses of professionals engaged by the Agent or the Letter of Credit Issuers, in

accordance with the terms of
                                                the Facility Agreement.

                        3. Grace is expressly authorized to obtain financial accommodations from


the Agent, the Letter of Credit Issuers and the other holders of the Obligations, on the terms and

subject to the conditions and limitations in availability set forth in the Facility Documents and

                       up to $100 milion in the form of
                                                                            Letters of      Credit, to enter into Hedging
this Order, of




 Arangements as contemplated by the Swap Documents and to obtain Bank Products from the
                                                                                                                Letters of   Credit, to
 Bank or the Bank's Affiiates. Grace is authorized to request the issuance of




 enter into Hedging Arangements and to request Bank Products, for the purposes permitted under

 the Facility Documents.

                          4. Effective immediately, the automatic stay pursuant to section 362(a) ofthe


  Bankptcy Code, and any and all other stays and injunctions which are or may be applicable,

  shall be and hereby are modified and vacated as to the Agent, the Letter of Credit Issuers and the

  other holders of             the Obligations and all of
                                                                      their Collateral (as defined below), so that (i) if an
                                                                                                                                 this
  Event of       Default (as defined in the Facility Documents) occurs, subject to Paragraph 10 of




   Order, the Agent and the Letter of Credit Issuers shall be entitled to terminate the Post-Petition

   Facility and the Agent, the Letter of Credit Issuers and the other holders ofthe Obligations shall

   be entitled to exercise any and all of
                                                              their rights and remedies under the Facility Agreement, the
                                                                                                          Default, the Agent, the
   other Facility Documents and this Order, and (ii) prior to an Event of




    Lctter of Credit Issuers and the other holders of the Obligations may take such actions with

    respect to the Collateral and proceeds thereof as are authorized in the Facility Agreement, the

    other Facility Documents and this Order, including without limitation the application of amounts

    in and proceeds of Cash Collateral Accounts and other Collateral to the Obligations as permitted



                                                                                 8
      CH\1141003.3
                 Case 01-01139-AMC                           Doc 24156-2              Filed 01/15/10    Page 10 of 44




by the Facility Agreement, the establishment of Cash Collateral Accounts, and the takng of steps

to pedect Agent's Liens on the CollateraL. Notwithstanding anything herein to the contrary, no

Letters of Credit, or Collateral or proceeds thereof may be used to object to or contest in any
                                                                                        the
manner, or raise any defenses to, the validity, pedection, priority or enforceability of




Obligations owing to the Letter of Credit Issuers or Agent or the other holders of the Obligations,

or the liens in favor of the Agent securng such Obligations, or to assert any claims or causes of

action against the Letter of Credit Issuers or Agent or the other holders of the Obligations in their

respective capacities under the Facility Documents.
                                                                                                          the Bankptcy Code,
                         5. In accordance with sections 364(c)(1) and 507(b) of




 the Obligations shall constitute claims with priority in payment over any and all administrative

 expenses of the kinds specified or ordered pursuant to any provision of the Bankptcy Code,

 including, but not limited to, sections 105,326,328,330,331, 503(b), 506(c), 507(a), 507(b) and

  546( c) of the Bankptcy Code and shall at all times be senior to the rights ofthe Debtors, any

  successor trustee to the extent permitted by law, or any other creditor in the Chapter 11 Cases or

  any subsequent proceedings under the Bankrptcy Code. No cost or expense of administration

  under sections 105, 364(c)(I), 503(b), 506(c), 507(b) of
                                                                                           the Banptcy Code or otherwise, shall

  be senior to or equal to the claim of the Agent, the Letter of Credit Issues or any other holder of

   the Obligations, arising out of the Obligations.

                           6. As security for all L/C Obligations, and as provided in the Facility


   Documents, Grace hereby grants to the Agent, for the benefit of the Agent, the Letter of Credit

   Issuers and, subject to Section 3 .3(b) of the Facility Agreement, the other holders of the

    Obligations (effective upon the date of the Order and without the necessity of the execution,

    fiing and/or recordation by the Debtors of
                                                                         mortgages, security agreements, patent security



                                                                                  9
     CH\1141003.3
                    Case 01-01139-AMC                      Doc 24156-2                Filed 01/15/10   Page 11 of 44




agreements, trademark security agreements, pledge agreements, financing statements or

otherwise), valid, perfected and continuing securty interests in, liens on, and rights of set-off

against ("Liens") the LIC Cash Collateral Account, all money, cash, Cash Equivalents or other

propert deposited in or credited to the LlC Cash Collateral Account, and all accessions to,

substitutions for and replacements, products and proceeds of any of the foregoing and, subject to

Section 3.3(b) of          the Facility Agreement, Liens against the FIX Hedge Cash Collateral Account,

the Commodity Hedge Cash Collateral Account, all money, cash, Cash Equivalents or other

propert deposited in or credited thereto and all accessions to, substitutions for and replacements,

 products and proceeds of any of the foregoing. As security for all FIX Hedge Obligations, Grace

 hereby grants to the Agent, for the benefit ofthe Agent, the holders ofthe FIX Hedge

 Obligations and, subject to Section 3 .3(b) of the Facility Agreement, the other holders of the

 Obligations, Liens against the FIX Hedge Cash Collateral Account, all money, cash, Cash

 Equivalents or other propert deposited in or credited to the FIX Hedge Cash Collateral Account,

 and all accessions to, substitutions for and replacements, products and proceeds of any of the

  foregoing and, subject to Section 3.3(b) of
                                                                      the Facility Agreement, Liens against the LlC Cash

  Collateral Account, the Commodity Hedge Cash Collateral Account, all money, cash, Cash

  Equivalents or other propert deposited in or credited thereto and all accessions to, substitutions

  for and replacements, products and proceeds of any of the foregoing. As security for all

   Commodity Hedge Obligations, Grace hereby grants to the Agent, for the benefit of the Agent,
                                                                                                                 the Facility
   the holders of         the Commodity Hedge Obligations and, subject to Section 3.3(b) of




   Agreement, the other holders of the Obligations, Liens against the Commodity Hedge Cash

   Collateral Account, all money, cash, Cash Equivalents or other propert deposited in or credited

    to the Commodity Hedge Cash Collateral Account, and all accessions to, substitutions for and


                                                                                 10
     CH\1141003.3
                   Case 01-01139-AMC                        Doc 24156-2       Filed 01/15/10          Page 12 of 44




replacements, products and proceeds
                                                           of any of the foregoing and, subject to Section 3 .3(b) of the

Facility Agreement, Liens against the LlC Cash Collateral Account, the FIX Hedge Cash

Collateral Account, all money, cash, Cash Equivalents or other propert deposited in or credited

thereto and all accessions to, substitutions for and replacements, products and proceeds of any of

the foregoing. Collectively, the propert and assets against which Liens are granted in this

 section ofthis Order, all accessions to, substitutions for and replacements, products and proceeds

 of any of        the foregoing, are referred to herein as the "CollateraL." The Liens granted herein

 against the Collateral shall be Liens with the following priority:

                         (a) pursuant to section 364(c)(2) ofthe Bankptcy Code, a first priority,
             perfected Lien upon all of
                                           Grace's right, title and interest in, to and under all Collateral
             that is not otherwise encumbered by a valid and unavoidable liens or security interests to
             the extent and in the amounts existing as of the commencement of the Chapter 11 Cases
              ("Prior Claims"); and

                                                                               the Bankptcy Code, a
                                                                                                           junior prionty,
                          (b) pursuant to section 364(c)(3) of

              perfected Lien upon all of
                                           Grace's right, title and interest in, to and under the Collateral
              that is subject to a Prior Claim (subject only to such Prior Claims).

  The Collateral shall not include (a) claims of
                                                                     the Debtors arising under sections 544, 546, 547,


   548,549,550 or 553 ofthe Bankrptcy Code ("Avoidance Actions"), (b) stock or other equity

   interests of       the Debtors in any foreign subsidiary, and (c) life insurance policies owned by, or

   assigned to, any of the Debtors. "Prior Claims" shall not include any lien or security interest that

   is avoidable pursuant to any provision of the Bankptcy Code.

                            7. Neither the Debtors, the Debtors' estates nor the Debtors' professionals


    shall assert a claim under section 506( c) of the Bankptcy Code against Agent or any Letter of

    Credit Issuers or any holders of Obligations for any costs and expenses incurred in connection

    with the preservation, protection or enhancement of, or realization by the Agent, any Letter of

     Credit Issuers or any other holders of the Obligations upon the CollateraL. The Agent, the Letter



                                                                         11
      CH\1141003.3
                Case 01-01139-AMC                         Doc 24156-2                Filed 01/15/10   Page 13 of 44




of Credit Issuers and the other holders of the Obligations shall not be subject to the equitable

doctrne of marshaling or any other similar doctrne with respect to any CollateraL None of the

Agent or the Letter of Credit Issuers or any other holders of Obligations shall be required to file

or serve financing statements, mortgages, patent and trademark securty agreements and similar

instrments which are used to perfect liens and security interests in intellectual propert, notices

of lien or similar instrments which otherwise may be required under federal or state law in any

jurisdiction, or take any action, including takng possession, to validate and perfect the Liens. If,

however, the Agent, any Letter of Credit Issuers, or any other holders of any Obligations, in their

 sole discretion, shall determine to file any such financing statements, mortgages, agreements,

 notices of lien or similar instrments, or to otherwise confirm perfection of such Liens, the

 Debtors are obligated to cooperate with and assist in such process, and all such documents shall

 be deemed to have been perfected at the time of and on the date of this Order, and shall be and

 hereby are deemed and adjudicated senior to any other post-petition fiing by any other person or

 entity with respect to the same collateraL
                                                                                                               Credit Issues or
                        8. A copy ofthis Order may be used by Agent, any Letter of




 any holder of any Obligations as a financing statement, mortgage, deed of trst or similar


  instrument for purposes of any public fiing made by such parties for the perfection of the Liens.

  All state, federal, and county recording offcers are authorized and directed to accept a copy of

  this Order for fiing for such purposes.

                         9. As long as any portion of
                                                                              the Obligations remains unpaid, or any Facility

                                                                                                Default set forth in the Facility
  Document remains in effect (without prejudice to other Events of




  Agreement), in addition to the other Events of
                                                                            Default set out in the Facility Documents it shall

  constitute an Event of Default if there shall be entered in any of the Chapter 11 Cases or any



                                                                              12
   CH\1141003.3
                 Case 01-01139-AMC                Doc 24156-2                Filed 01/15/10     Page 14 of 44




subsequent chapter 7 case any order which authorizes under any section of the Bankptcy Code,

                                                    the Bankptcy Code, (i) the granting of
                                                                                                      any lien or
including sections 105,363, or 364 of




securty interest in the Collateral in favor of any part other than the Agent, the Letter of Credit

Issuers and the other holders of the Obligations, (ii) the obtaining of credit or the incurrng of

indebtedness that is entitled to super-priority administrative status, in either case equal or

superior to that granted to the Agent, the Letter of Credit Issuers and the other holders of the

Obligations pursuant to this Order, or (iii) the use of Cash Collateral or the Debtors seek any of

the foregoing relief; unless, in connection with any transaction cited in clause (i), (ii), or (iii) of

this paragraph, such order requires that the Obligations shall first be indefeasibly paid in full in

 cash (including cash collateralization or backstopping of all then outstanding Letters of Credit).

 Otherwise, and in addition to creating an Event of Default, the Debtors, on behalf of their estates,

 expressly waive any right to request, without the prior wrtten consent of Agent, any relief ofthe

 type described in the preceding sentence.

                          10. Upon the occurrence of and during the continuance of any Event of

 Default, including the Events of
                                             Default identified in Section 9.1 of
                                                                                             the Facility Agreement, the

  Agent and thc Letter of Credit Issuers and the other holders of the Obligations may, acting

  pursuant to the Facility Documents, exercise rights and remedies and take all or any of the

  following actions without further relief
                                                        from the automatic stay pursuant to section 362(a)

  Bankptcy Code or any other applicable stay or injunction (which have been modified and

  vacated, as heretofore ordered, to the cxtent necessary to permit such exercise of rights and

  remedies and the taking of such actions) or fuher order of or application to this Court: ( a)

   terminate or suspend the Commitment and thereafter cease to issue Letters of Credit to the

   Debtors; (b) declare the principal of and accrued interest, fees and other liabilities constituting



                                                                      13
    CH\1141003.3
                 Case 01-01139-AMC                         Doc 24156-2                Filed 01/15/10        Page 15 of 44




the Obligations to be due and payable; (c) set-off amounts in any of the Debtors' accounts

                                                                     Credit Issuer or any other holder of
                                                                                                                 the Obligations or
maintained with the Agent or any Letter of



                                                                                                            the Agent or any Letter
otherwise enforce rights against any other Collateral in the possession of




of Credit Issuers or any other holders of Obligations; (d) charge the default rate of interest as set

forth in the Facility Documents; and/or (e) take any other action or exercise any other right or

remedy permitted to the Agent or the Letter of Credit Issuers or any other holders of the

Obligations under the Facility Documents, this Order or applicable law. The Debtors waive any

right to seek relief           under the Bankptcy Code, including, without limitation, under section 105,

 to the extent any such relief would in any way restrct or impair the rights and remedies of the

 Agent or the Letter of Credit Issuers or any other holders of the Obligations set forth in this

 Order or in the Facilty Documents. If the Agent or Letter of Credit Issuers or any other holders

 of the Obligations elect to exercise any rights or remedies with respect to the Collateral that are

 predicated upon an Event of                   Default having occurred, before taking such action, the Agent shall

 provide the Debtors' counsel, and counsel to the Committees and counsel to the Asbestos

 Representatives at least five (5) business days prior written notice, provided that no prior notice

  of a termination or suspension of the Commitment shall be required. If any of the Debtors or any

  other person challenges the occurrence of an Event of
                                                                                        Default, any such objector's remedy shall

  be limited to requesting a hearing before this Court at least on five business days' wrtten notice

  (a "Hearing Notice") to the Agent. If a hearing is requested in accordance with the preceding

  sentence, then subsequent to receipt by Agent of a Hearing Notice, unless the Court orders

   otherwise, the Agent, the Letter of Credit Issuers and the other holders of the Obligations shall

   not take the actions described in clauses (c) or (e) above (or shall suspend such actions if

   commenced prior to Agent's receipt of a Hearing Notice) for at least five business days after



                                                                               14
    CH\1141003.3
                 Case 01-01139-AMC                         Doc 24156-2                   Filed 01/15/10       Page 16 of 44




Agent's receipt ofa Hearing Notice. In any such hearing, the sole issue before the Court shall be

whether an Event of Default exists.

                       11. The Debtors are authorized to perform all acts, and execute and comply


with the terms of such other documents, instrments and agreements in addition to the Facility

Documents, as the Agent or the Letter of Credit Issuers or any other holders of the Obligations
                                                                                                  the Obligations or the Liens in
may reasonably require, as evidence of and for the protection of




favor of Agent, or which otherwise may be deemed reasonably necessary by the Agent or the

Letter of Credit Issuers or the other holders of the Obligations to effectuate the terms and

 conditions of        this Order and the Facility Documents. The Debtors, the Agent, the Letter of

 Credit Issuers and the other holders of the Obligations are hereby authorized to implement, in

 accordance with the terms of the Facility Documents, any non-material modifications (including,
                                                                                                  the Letter of   Credit Issuers) of
 without limitation, any change in the number or composition of




 the Facility Documents without further notice or order of this Court.

                          12. Without limiting the rights of access and information afforded the Agent

  and the Letter of Credit Issuers and the other holders ofthe Obligations under the Facility
                                                                                    the Agent and
  Documents, the Debtors shall afford representatives, agents and/or employees of




  the Letter of Credit Issuers and the other holders of the Obligations reasonable access to the

   Debtors' premises and their records in accordance with the Facility Documents and shall

   cooperate, consult with, and provide to such persons all such non-privileged information and

   information not subject to a binding confidentiality agreement, as they may reasonably request.

                            13. Having been found to be extending credit accommodations and issuing


    Letters of Credit to Grace in good faith, based on the record before this Court, the Agent and the

    Letter of Credit Issuers and the other holders of the Obligations shall be entitled to the full



                                                                                    15
     CH\1141003.3
                  Case 01-01139-AMC                        Doc 24156-2           Filed 01/15/10      Page 17 of 44




protection of        section 364(e) of           the Bankptcy Code with respect to the Obligations and the

Liens created, adjudicated or authorized by this Order in the event that this Order or any finding,

adjudication, or authorization contained herein is stayed, vacated, reversed or modified on

appeaL. Any stay, modification, reversal or vacation of
                                                                                   this Order shall not affect the validity of

any Obligations of the Debtors to the Agent or the Letter of Credit Issuers or the other holders of

the Obligations incured pursuant to this Order. Notwithstanding any such stay, modification,

reversal or vacation, all Letters of Credit issued and financial accommodations provided pursuant

 to this Order and the Facility Documents and all Obligations incurred by the Debtors pursuant

 hereto prior to the effective date of any such stay, modification, reversal or vacation shall be

 governed in all respects by the original provisions hereof, and the Agent and the Letter of Credit

 Issuers and the other holders of the Obligations shall be entitled to all the rights, privileges and

 benefits, including without limitation, the liens, security interests and first priorities granted

 herein with respect to all such Obligations.

                          14. Neither the Agent nor any Letter of
                                                                                       Credit Issuers nor any other holders of

  the Obligations shall be deemed to be in "control" of the operations of any Debtor, to be acting

  as a "responsible person" or "owner" or "operator" with respect to the operation or management

  of any Debtor (as such terms or similar terms are used in the Comprehensive Environmental

  Response, Compensation and Liability Act of 1980, as amended, or any similar federal or state

  statute) by reason of any credit or financial accommodations extended to the Debtors under the

  Facility Doc.uments or the exercise by the Agent or any Letter of Credit Issuers or any other

  holders of the Obligations of any rights or remedies hereunder or thereunder, except that this

   paragraph shall apply to environmental
                                                                    liabilities to the United States only so long as the actions

   of the Agent and the Letter of Credit Issuers and the other holders of the Obligations do not



                                                                            16
    CH\1141003.3
             Case 01-01139-AMC                     Doc 24156-2                Filed 01/15/10   Page 18 of 44




constitute, within the meaning of 42 U.S.C. § 9601(20)(F), actual paricipation in the

management or operational affairs of a vessel or facility owned or operated by the Debtors, or

otherwise cause lender liability to arise or the status of control, responsible person, owner, or

operator to exist under applicable law.

                  15. The provisions of this Order and any actions taken pursuant hereto shall

survive entr of any order (a) confirming any plan of reorganization in the Chapter 11 Cases,


and, to the extent not satisfied in full in cash, (or, with respect to the Letters of Credit, with cash

collateralization or supporting Letters of Credit) the Obligations shall not be discharged by the

entr of any such order, or pursuant to section 1141 (d)( 4) of the Bankptcy Code, the Debtors

 having hereby waived such discharge; (b) converting any of the Chapter 11 Cases to a chapter 7

 case; or (c) dismissing any of the Chapter 11 Cases, and the terms and provisions of this Order as

 well as the claims and liens granted pursuant to this Order and the Facility Documents shall

 continue in full force and effect notwithstanding the entry of such order, and such claims and

 liens shall maintain their priority as provided by this Order until all of the Obligations are

 indefeasibly paid in full in cash and discharged.

                   16. Pursuant to Section 552(a) ofthe Bankptcy Code, all propert acquired


 by the Debtors after the Petition Date, is not and shall not be subject to any lien of any entity

  resulting from any Prior Claim except to the extent that such propert constitutes proceeds of

  propert encumbered by a Prior Claim.
                                                                                                     this Order and the
                   17. To the fullest extent permitted by law, the provisions of




  Facility Documents shall be binding upon and inure to the benefit of the Agent, the Letter of

  Credit Issuers, the other holders of the Obligations, the Debtors, and their respective successors




                                                                        17
   CH\1141003.3
             Case 01-01139-AMC                       Doc 24156-2             Filed 01/15/10     Page 19 of 44




and permitted assigns, including any trstee or other fiduciar hereafter appointed in the Chapter


11 Cases or in subsequent chapter 7 cases as a legal representative of the Debtors or their estates.

                  18. The Debtors shall provide counsel to each of
                                                                                           the Committees and counsel

to the Asbestos Representatives with copies of any notices, amendments, financial data or similar

information that Debtors provide to the Agent or the Letter of Credit Issuers pursuant to this

Order or the Facilty Documents, substantially contemporaneously with delivery of such

information to the Agent or the Letter of Credit Issuers.

                  19. In the event of                 any conflct between any term, covenant or condition of

this Order and any term, covenant or condition of any Facility Document, the provisions of this

Order shall control and govern.

                  20. The Cour has and wil retain
                                                                            jurisdiction to enforce this Order according

 to its terms.

 Dated: _, 2010
          Wilmington, Delaware


                                                                     UNITED STATES DISTRICT JUGE




                                                                       18
   CH\1141003.3
Case 01-01139-AMC    Doc 24156-2     Filed 01/15/10   Page 20 of 44




                          EXHIIT A

                    Form of LOC Agreement
           Case 01-01139-AMC    Doc 24156-2    Filed 01/15/10   Page 21 of 44

                                                                           Final Draft




                POST-PETITION LETTER OF CREDIT FACILITY AGREEMENT

                                     dated as of

                                            1,2010

                                       among

         THE FINANCIAL INSTITUTIONS FROM TIME TO TIME PARTY HERETO,
                             as Letter of Credit Issuers


                               BANK OF AMERICA, N.A.
                                    as the Agent

                                        and

                             w. R. GRACE & CO.-CONN.,
                                  as the Account Party




CH\I135197.12                                                                   029123-0013
                   Case 01-01139-AMC                            Doc 24156-2                   Filed 01/15/10                   Page 22 of 44




                                                              TABLE OF CONTENTS

                                                                                                                                                                Pal!e
Article

ARTICLE 1 LETTER OF CREDIT FACILITY .................................................................................... 1
   1.1 Total Facility ............................................................................................................................... I
   1.2 Letters of Credit. ..... ......... .................... ............. ........ .... .......... ......................... ........ ...... ............. 2
    1.3 Section 364(c)(I) Superpriority Administrative Claim and Sections 364(c)(2) and Section
   3 64( c )(3) Liens and Security Interests ....... .......... ......... ................ ................. .............. ............ ................ 4
    1.4 Grant of    Lien in Cash Collateral Accounts. ................................................................................ 5
    1.5 Bank Products ... ........ .......... ..... ..... ......... .............. ............. ........ .... ........ ......... ....... ......... ............. 6
ARTICLE 2 INTEREST AND FEES ....................................................................................................... 6
    2.1 Interest. ....... ................... ........ ......... ...... ..... ...... ........ ...... ............................ ..... ................. ............ 6
    2.2 Maximum Interest Rate.. ..... ........... ........... .............. ........ ........ ..... ........ .......................... ............. 6
    2.3 Facilty Fee; Administration Fee... ........ ......... ...... ................................ .... ............ ......... .............. 7
    2.4 Unused Line Fee .......... ............................................................................................................... 7
    2.5 Letter of Credit Fee.... ........................... ...................................................................................... 7
ARTICLE 3 TERMINATION AND PAYMENTS ................................................................................. 8
    3.1 Termination of Facility .................... ..... ....... ........................... ........................................ ............ 8
    3.2 Payments by the Account Part. ...... .............. ....... .............. .................... ......... ............. ....... ....... 8
    3.3 Apportionment, Application and Reversal of
                                                                  Payments............................................................. 8
    3.4 Indemnity for Returned Payments.. ....... .............. ............... .......... ...................... ............ ............ 9
    3.5 Agent's and Letter of    Credit Issuers' Books and Records; Monthly Statements........................ 9
 ARTICLE 4 TAXES, YIELD PROTECTION AND ILLEGALITy......................................... 10
     4.1 Taxes. ... ...... .................................... ................. ........................ .................. ...................... ..... ..... 10
     4.2 Increased Costs. ........ ............................. ....... ................................................................ ............ II
     4.3 Certificates of Agent................................ ................................................. ................................ 11
     4.4 Withholding Tax. ............. ..... ....................... ................................................. ............................ 11
     4.5 Survival....................................... ..................... ............. ................. ...... ........................... .......... 12
 ARTICLE 5 .... ......... ........ ................... ...... ...... ........ ..... ........ .................. ...... ......... ...... ........ ....... ................ 12
     5.1 Financial Information.............. .............. ....... ............................ ..... ............. ........... ....... ............. 12
     5.2 Notices to the Letter of Credit Issuers................... ....... ............... ............ ....................... ..... ...... 13
     5.3 Bankptcy Case .................................. .............................. ............. ...................... ......... ........... 14
 ARTICLE 6 GENERAL WARRNTIES AND REPRESENTATIONS................................... 14
                                                                                             this Agreement and the Letter of                      Credit
      6.1 Authorization, Validity, and Enforceability of

      Documents ............................................................................................................................................. 14
      6.2 Validity anò Priority of Security Interest ................................................................................. 14
      6.3 Account Part's Organization and Qualification ...................................................................... 14
      6.4 Litigation............ ................. ........ ........... ....... .... ............... ............ ..... .......... .......... ....... ............. 15
      6.5 Regulated Entities ............... ........ ......... ....... .......... ......................... ................ ................ ........... 15
      6.6 Use of Proceeds; Margin Regulations.. ....... ................... ....... ............ ................... .......... ........... 15
      6.7 Full Disclosure.. ........ .................................................... .................................. ................ ..... ..... 15
      6.8 Governental Authorization... ........... ...... .... ........ ........... ............ ..... ....... ... .......... ........... .......... 15
  ARTICLE 7 AFFIRMATIVE AND NEGATIVE COVENANTS ................................................ 15


                                                                                                                                                              029123-0013
   CID1135197.12
                 Case 01-01139-AMC                          Doc 24156-2                  Filed 01/15/10                     Page 23 of 44




  7.1 Legal Existence and Good Standing ......................................................................................... 15
  7.2 Compliance with Law and Agreements .................................................................................... 15
   7.3 Mergers and Consolidations.............................. ..... ....... .............. ................ ........................ ...... 16
   7 .4 Use of Proceeds.... .... ...................... ................. ..... ... .... ....................... ........... ...... .......... ............ 16
   7.5 Funding of Cash Collateral Accounts. ...................................................................................... 16
   7.6 Further Assurances..... ........ ....................... ............................................... ...... ................... ........ 17
ARTICLE 8 CONDITIONS TO ISSUANCE ........................................................................................ 17
                                                            Credit..................................................... 17
   8.1 Conditions Precedent to Issuance ofInitial Letter of

   8.2 Conditions Precedent to Each Issuance..................................................................................... 18
ARTICLE 9 DEFAULT; REMEDIES ................................................................................................... 19
   9.1 Events of Default ............. ....... ..... .............................. ...... ............. .... ....... ........ .............. ........... 19
   9.2 Remedies. ..... ....... ................................ .............................. ................... ........... ............. ............. 21
ARTICLE 10 TERM AND TERMIN A TI 0 N ........................................................................................ 22
    10.1 Term and Teniiination ....... ............ ............................... .... ......... ............. ................. ................. 22
ARTICLE 11 AMENDMENTS; WAIVERs; ASSIGNMENTS; SUCCESSORS .......................... 22
     11.1 Amendments and Waivers. .................................. ..... .................... ..... ................... .............. ...... 22
     11.2 Assignments. ...... ..... ............ ......................................... ...... .......... ................ ....................... ...... 23
 ARTICLE 12 THE AGENT .... ......... ......... ..... .... ....... .......... .............. ............. ... .... .......... ............... ......... 25
     12.1 Appointment and Authorization........... ......................... .... .............................. .......... .... ............ 25
     12.2 Delegation of Duties... ........... ..... .... ....... ....... ........................ ................................. ....... ............ 25
     12.3 Liability of Agent.................... .................... ...................... ............................ ........ .................... 25
     12.4 Reliance by Agent.............................. ....................................................................................... 26
     12.5 Notice of Default..... ...................... ................... ............ ................................. .......... ....... ........... 26
     12.6 Credit Decision. .......................................................... .... ...................... ...... .............................. 26
     12.7 Indemnification..... ....................... ......................................................... ........ ............................ 27
     12.8 Agent in Individual Capacity ............. ................. ............. ............ .............. .......... ....... .............. 27
      12.9 Successor Agent ...... .......... ...... ....... ..... ..... ............................. ...... ..................................... ......... 27
      12.10 Withholding Tax. ..... ........... ............ ............ ................... ........... ............ ....... ............... .... .......... 27
                                                                Credit Issuers; Sharing of
                                                                                                            Payments. .............................. 28
      12.1 1 Restrictions on Actions by Letter of

      12.12 Payments by Agent to Letter of
                                                                   Credit Issuers ......................................................................... 28
      12.13 Letter of Credit Issuers' Failure to Perform .............................................................................. 29
      12.14 Relation Among Letter of Credit Issuers .................................................................................. 29
  AR TI CLE 13 MISCELLANEOUS. ............. ...... .............................. ............. ........... ............... ................ 29
       13.1 No Waivers; Cumulative Remedies .......................................................................................... 29
       13.2 Severability. ............... ..... ......... ............ ....... ....................... ......... ............................ .................. 29
                                                             Forum; Service of            Process................................"'"'''''''''''''''''''''''' 29
       13.3 Governing Law; Choice of

       13.4 WAIVER OF JURY TRIAL..................................................................................................... 30
       13.5 Survival of   Representations and Warranties .............................................................................31
       13.6 Other Security and Guaranties... ............................... ............ ...... ........ ........ ................ .............. 31
       13. 7 Fees and Expenses....... .... .......... ............. ..................... ............ .............. ................... ..... ........... 31
       13.8 Notices........................................ ...... .................... .......... ............. .... ..... ..... ...... ............ ............. 31
       13 .9 Waiver of       Notices ........... ................ .......... ..................... ....................... ........ ...... ...... ......... ....... 32
       13.10 Binding Effect ......... ............ .... .............. ....................... .......... .................. ................................. 32
       13.1 1 Indemnity of        the Agent and the Letter of
                                                                                Credit Issuers by the Account Part. ....................... 32
        13.12 Limitation of Liability ...... .......... ........ ........ ............. ............... .... ............... ........ ....... .......... ....... 33

                                                                                    2
                                                                                                                                                                  029123-0013
    CH\I135197.12
               Case 01-01139-AMC                           Doc 24156-2                  Filed 01/15/10                 Page 24 of 44




  13.13 Final Agreement.......................... ......................... ........ .............. ........ ........................ .............. 33
  13.14 Counterparts ................... ................ ................................................... .................... ........ ............ 33
  13.15 Captions ............................ ............. .............................. ...... ........ ..... ............. .......... .... .... ........... 34
  13.16 Right of Setoff.............. ........... ............................. ................ ....... ............. .................. ............... 34
  13.17 Confidentiality. .............. ........................ ................. .............. .... ..... ........ ........ ............. .............. 34
  13.18 Conflcts with Other Letter of Credit Documents ..................................................................... 35

                                            ANNEXES. EXHIBITS AND SCHEDULES

ANNX A                                          DEFINED TERMS

EXHIBIT A                                       FORM OF FACILITY ORDER

EXHIBIT B                                       FORM OF ASSIGNMENT AND ACCEPTANCE AGREEMENT

EXHIBIT C                                       EXISTING LETTERS OF CREDIT

SCHEDULE 1.1                                    LETTER OF CREDIT ISSUERS' COMMITMENTS

SCHEDULE 6.4                                    LITIGATION; JUDGMENTS




                                                                                3
CH\I135197.12                                                                                                                                       029123-0013
                   Case 01-01139-AMC                        Doc 24156-2                Filed 01/15/10                Page 25 of 44




                         POST-PETITION LETTER OF CREDIT FACILITY AGREEMENT

        This Post-Petition Letter of Credit Facility Agreement, dated as of r 1, 2010, among the
financial institutions from time to time parties hereto (such financial institutions, together with their
respective successors and assigns, are referred to hereinafter each individually as a "Letter of Credit
Issuer" and collectively as the "Letter of Credit Issuers"), Bank of America, N.A., as agent for the Letter
of Credit Issuers and the other holders of Obligations (in its capacity as agent, the "Agent"), W. R. Grace
& Co.-Conn., a Connecticut corporation, a debtor and a debtor-in-possession under Chapter 11 of the
Bankptcy Code (as defined below) (the "Account Part").
                                                               WlIN~~~~TH:
              WHEREAS, the Account Part is a debtor and debtor-in-possession in a case pending under
chapter 11 of the Bankruptcy Code (the "Bankruptcy Case"), has requested the Letter of Credit Issuers to
make available to the Account Part a letter of credit facilty in an amount not to exceed $100,000,000,
and which extensions of credit the Account Part wil use for the purposes permitted hereunder;

       WHEREAS, capitalized terms used in this Agreement and not otherwise defined herein shall have
the meanings ascribed thereto in Annex A, which is attached hereto and incorporated herein; the rules of
construction contained therein shall govern the interpretation of this Agreement, and all Annexes,
Exhibits and Schedules attached hereto are incorporated herein by reference;

         WHEREAS, the Letter of Credit Issuers have agreed to make available to the Account Part a
letter of credit facility upon the terms and conditions set forth in this Agreement;

               WHEREAS, the Account Part has continued in possession of its assets and in the management
of
                                                                              the Bankrptcy Code;
       its business as debtor-in-possession pursuant to sections 1107 and 1108 of



         WHEREAS, to provide security for the repayment of the letters of credit made available pursuant
 hereto and payment of the other obligations of the Account Part under the Letter of Credit Documents
 and the Swap Documents, the Account Part has agreed to provide the Agent, for the benefit of the
                 Credit Issuers and the Bank and its Affiiates (upon and after the entry of
                                                                                            the Facilty
 Agent, the Letter of
                                                               the Account Part hereunder and under the other Letter of
                                                                                                                                          Credit
 Order) with respect to the obligations of

 Documents and the Swap Documents, an allowed superpriority administrative expense claim in the
 Bankptcy Case pursuant to section 364(c)(l) of the Bankrptcy Code having priority over all
 administrative expenses of the kind specified in, or arising or ordered under, any sections of the
 Bankrptcy Code, including without limitation, sections 503(b), 105,326,328,330,331, 506(c), 507(a),
 507(b), 546(c), 726 or 1112 of the Bankrptcy Code and liens and security interests with priority under
 section 364(c)(2) and section 364(c)(3) of
                                                                 the Bankptcy Code;

       NOW, THEREFORE, in consideration of the mutual conditions and agreements set forth in this
 Agreement, and for good and valuable consideration, the receipt of which is hereby acknowledged, the
 Letter of Cn:dit Issuers, the Agcnt, and the Account Part hereby agree as follows.

                                                                        ARTICLE 1

                                                         LETTER OF CREDIT FACILITY

                 1.1 Total Facilitv. Subject to all of
                                                                           the terms and conditions of             this Agreement, the Letter of
     Credit Issuers agree to make available a total
                                                    letter of credit facilty of up to $100,000,000 (the "Total
     Facility") to the Account Part from time to time prior to the Termination Date.


                                                                                                                                       029123-0013
     CH\I135197.12
                 Case 01-01139-AMC                           Doc 24156-2    Filed 01/15/10     Page 26 of 44




            1.2 Letters of Credit.

                       (a) Agreement to Issue or Cause To Issue. Subject to the terms and conditions of
this Agreement, the Agent agrees to cause a Letter of Credit Issuer to issue, and each Letter of Credit
Issuer hereby severally agrees to issue for the account of
                                                                           the Account Part, in an aggregate amount not to
exceed such Letter of Credit Issuer's Commitment, for the account of the Account Part one or more
commercial/documentaiy or standby letters of credit ("Letter of Credit"). Letters of Credit may be
requested for the benefit of Other Subsidiaries; provided that the Account Part shall be the account part
with respect thereto (and the fact that such Letters of Credit may be for the benefit of Other Subsidiaries
shall not affect the Account Part's reimbursement Obligations with respect to such Letters of Credit);
provided further, that the sum of the undrawn face amount of all such Letters of Credit plus all amounts
drawn thereunder for which the Account Part has not been repaid by the Other Subsidiaries shall not
exceed $25,000,000. As of    the Closing Date, each of  the Existing Letters of Credit shall be deemed to be
Letters of Credit issued pursuant to this Agreement.

                        (b) Amounts; Outside Expiration Date. The Agent shall not have any obligation to
cause any Letter of Credit to be issued, and no Letter of Credit Issuer shall have any obligation to issue
any Letter of Credit, at any time if: (i) the maximum face amount of the requested Letter of Credit is
greater than the Unused Letter of Credit Amount at such time; (ii) the sum of (x) the maximum amount of
the requested Letter of Credit plus (y) all commissions, fees, and charges due from the Account Part in
connection with the opening thereof    would in the aggregate exceed Availabilty at such time; or (iii) such
Letter of Credit has an expiration date (1) in the case of standby letters of credit, of more than fort-eight
(48) months after the date of issuance (although any such Letter of Credit may provide for automatic
extensions of its expiration date for one or more successive twelve (12)-month periods; provided that the
Letter of Credit Issuer has the right to terminate such Letter of Credit on each such annual expiration date)
 and (2) in the case of documentaiy letters of credit, such Letter of Credit has an expiration date of more
than 180 days from the date of issuance. With respect to any Letter of Credit that contains any
"evergreen" or automatic renewal provision, each applicable Letter of Credit Issuer shall be deemed to
 have consented to any such extension or renewal unless any such Letter of Credit Issuer shall have
 provided to the Agent written notice that it declines to consent to any such extension or renewal at least
 thirt (30) days prior to the date on which the Letter of Credit Issuer is entitled to decline to extend or
 renew the Letter of Credit. If all of the requirements of this Section 1.2 are met and no Default or Event
 of Default has occurred and is continuing, no Letter of Credit Issuer shall decline to consent to any such
 extension or renewaL.


                 (c) Other Conditions. In addition to the conditions precedent contained in Article 8,
 the obligation of the Agent to cause any Letter of Credit to be issued or any Letter of Credit Issuer to
 issue any Letter of Credit is subject to the following conditions precedent having been satisfied in a
 manner reasonably satisfactoiy to the Agent:

                             (1) The Account Part shall have delivered to the applicable Letter of Credit
             Issuer, at such times and in such manner as such Letter of Credit Issuer may prescribe, an
             application in form and substance satisfactory Lo such Letter of Crcdit Issuer and reasonably
             satisfactoiy to the Agent for the issuance of the Letter of Credit and such other documents as may
             be required pursuant to the terms thereof, and the form, terms and purpose of the proposed Letter
             of Credit shall be reasonably satisfactoiy to the Agent and such Letter of Credit Issuer; and

                                      (2) As of the date of issuance, no order of any court, arbitrator or
             Governmental Authority shall purport by its terms to enjoin or restrain money center banks
             generally from issuing letters of credit of the tye and in the amount of the proposed Letter of
              Credit, and no law, rule or regulation applicable to money center banks generally and no request

                                                                      2
                                                                                                                  029123-0013
   CID1135197.12
          Case 01-01139-AMC              Doc 24156-2         Filed 01/15/10         Page 27 of 44




     or directive (whether or not having the force of law) from any Governmental Authority with
     jurisdiction over money center banks generally shall prohibit, or request that the proposed Letter
     of Credit Issuer refrain from, the issuance of letters of credit generally or the issuance of such
      Letters of Credit.


                 (d) Issuance of Letters of Credit.

                         (1) Request for Issuance. The Account Part must notify the Agent of a
                 requested Letter of Credit at least two (2) Business Days prior to the proposed issuance
                 date. Such notice must specify the original face amount of the Letter of Credit requested,
                 the Business Day of issuance of such requested Letter of Credit, whether such Letter of
                 Credit may be drawn in a single or in partial draws, the Business Day on which the
                 requested Letter of Credit is to expire, the purpose for which such Letter of Credit is to be
                 issued, and the beneficiary of the requested Letter of Credit. The Account Part shall
                 attach to such notice the proposed form of the Letter of Credit.

                           (2) Responsibilities of the Agent: Issuance. As of the Business Day
                 immediately preceding the requested issuance date of the Letter of Credit, the Agent shall
                 determine the Unused Letter of
                                                Credit Amount and Availability. If   (i) the face amount of
                 the requested Letter of Credit is less than the Unused Letter of Credit Amount and (ii) the
                 sum of (x) the amount of such requested Letter of Credit plus (y) all commissions, fees,
                 and charges due from the Account Part in connection with the opening thereof would
                 not in the aggregate exceed Availability, the Agent shall cause the applicable Letter of
                  Credit Issuer to issue the requested Letter of Credit on the requested issuance date so long
                  as the other conditions hereof are met.

                           (3) No Extensions or Amendment. Subject to Section 1.2(b), the Agent shall
                  not be obligated to cause a Letter of Credit Issuer to extend or amend any Letter of Credit
                  issued pursuant hereto, and no Letter of Credit Issuer shall be obligated to amend or
                  extend any Letter of Credit issued pursuant hereto, unless the requirements of Section
                  1.2( c )(2) are met as though a new Letter of Credit were being requested and issued.

                  (e) Payments Pursuant to Letters of Credit. The Account Part agrees to reimburse
the applicable Letter of Credit Issuer immediately for any draw under any Letter of Credit and to pay such
Letter of Credit Issuer the amount of all other charges and fees payable to such Letter of Credit Issuer in
connection with such draw immediately when due, irrespective of any claim, setoff, defense or other right
which the Account Part may have at any time against such Letter of Credit Issuer or any other Person.
Except as otherwise agreed by the Agent, if any drawing under any Letter of Credit shall not have been
reimbursed by the Account Part in accordance with the foregoing sentence on the date of such drawing,
 then the Agent shall, and the Account Part hereby authorizes and directs the Agent to, apply funds on
 deposit in the LlC Cash Collateral Account to repay the amount of such drawing plus interest thereon at
 the per annum rate set forth in Section 2.1.

                   (t) Indemnification: Exoneration: Power of Attornev

                            (1) Indemnification. In addition to amounts payable as elsewhere provided
         in this Section 1.2, the Account Part agrees to protect, indemnify, pay and save the Letter of
         Credit Issuers and the Agent harmless from and against any and all claims, demands, liabilities,
         damages, losses, costs, charges and expenses (including reasonable attorneys' fees) which any
         Letter of Credit Issuer or the Agent (other than any Letter of Credit Issuer in its capacity as Letter
         of Credit Issuer) may incur or be subject to as a consequence, direct or indirect, of the issuance of

                                                         3
                                                                                                      029123-0013
 CH\I135197.12
             Case 01-01139-AMC                         Doc 24156-2                 Filed 01/15/10   Page 28 of 44




        any Letter of Credit; provided, however, that the Account Par's obligations to the Agent or any
        Letter of Credit Issuer under this clause (1) shall not apply to matters resulting solely from its
        gross negligence or wilful misconduct. The Account Part's obligations under this Section shall
        survive payment of all other Obligations.

                                (2) Assumption of
                                                                   Risk by the Account Part. As among the Account Part,
        the Letter of Credit Issuers, and the Agent, the Account Part assumes all risks of the acts and
        omissions of, or misuse of any of the Letters of Credit by, the respective beneficiaries of such
        Letters of Credit. In furtherance and not in limitation of the foregoing, the Letter of Credit
        Issuers and the Agent shall not be responsible for: (A) the form, validity, suffciency, accuracy,
        genuineness or legal effect of any document submitted by any Person in connection with the
        application for and issuance of and presentation of drafts with respect to any of the Letters of
        Credit, even if it should prove to be in any or all respects invalid, insuffcient, inaccurate,
         fraudulent or forged; (B) the validity or suffciency of any instrment transferrng or assigning or
         purporting to transfer or assign any Letter of Credit or the rights or benefits thereunder or
         proceeds thereof, in whole or in part, which may prove to be invalid or ineffective for any reason;
         (C) the failure of the beneficiary of any Letter of Credit to comply duly with conditions required
         in order to draw upon such Letter of Credit; (D) errors, omissions, interrptions, or delays in
         transmission or delivery of any messages, by mail, cable, telegraph, telex or otherwise, whether
         or not they be in cipher; (E) errors in interpretation of technical terms; (F) any loss or delay in the
         transmission or otherwise of any document required in order to make a drawing under any Letter
         of Credit or of the proceeds thereof; (G) the misapplication by the beneficiary of any Letter of
         Credit of the proceeds of any drawing under such Letter of Credit; (H) any consequences arising
         from causes beyond the control of the Letter of Credit Issuers or the Agent, including any act or
         omission, whether rightful or wrongful, of any present or future de jure or de facto Governental
         Authority or (1) the Letter of Credit Issuer's honor of a draw for which the draw or any certificate
         fails to comply in any respect with the terms of the Letter of Credit. None of the foregoing shall
         affect, impair or prevent the vesting of any rights or powers of the Agent or any Letter of Credit
         Issuer under this Section 1.2(f.

                                  (3) Exoneration. Without limiting the foregoing, no action or omission
          whatsoever by Agent or any Letter of Credit Issuer (excluding any Letter of Credit Issuer in its
          capacity as a Letter of Credit Issuer) shall result in any liability of Agent or any Letter of Credit
          Issuer to the Account Part, or relieve the Account Part of any of its obligations hereunder to
          any such Person.

                                  (4) Rights Against Letter of Credit Issuer. Nothing contained in this
          Agreement is intended to limit the Account Part's rights, if any, with respect to any Letter of
          Credit Issuer which arise as a result of the letter of credit application and related documents
          executed by and between such Account Part and such Letter of Credit Issuer.

                                   (5) Account Part. The Account Part hereby authorizes and directs any
           Lt:lter of Credit Issuer to name such Account Part as the "Account Part" therein and to deliver
           to the Agent all instruments, documents and other wrtings and propert received by the Letter of
           Credit Issuer pursuant to the Letter of
                                                   Credit, and to accept and rely upon the Agent's instrctions
           and agreements with respect to all matters arising in connection with the Letter of Credit or the
           application therefor.
                                                                                                             the parties
            1.3 Section 364(c)(1) Superoriority Administrative Claim. It is the intent of

hereto that, effective on and after the date of the entr by the Bankptcy Court of the Facility Order,
                                                                                       the Bankptcy
notwithstanding any term to the contrary herein, in accordance with section 364(c)(1) of




                                                                             4
                                                                                                                     029123-0013
CH\\135197.12
                   Case 01-01139-AMC                         Doc 24156-2                 Filed 01/15/10   Page 29 of 44




Code, the Obligations shall constitute claims with priority in payment from funds on deposit in or credited
to the Cash Collateral Accounts, whether now existing or hereafter acquired, over any and all unsecured
pre-petition claims, all post-petition claims and all administrative expenses of the kinds specified in, or
arsing or ordered under any sections of the Bankptcy Code, including, without limitation, sections
503(b), 105, 326, 328, 330, 331, 506(c), 507(a), 507(b), 546(c), 726 and 1112 of the Bankptcy Code,
whether or not such claims or expenses may become secured by a judgment lien or other non-consensual
lien, levy or attachment, and such claims, shall at all times be senior to the rights of the Account Part,
any Chapter 11 trstee, any Chapter 7 trstee, or any other creditor (including, without limitation, post-
petition vendors and other post-petition creditors) in the Bankptcy Case or any subsequent proceedings
under the Bankptcy Code, including, without limitation, any chapter 7 case of the Account Part if the
Bankptcy Case is converted to a case under chapter 7 of the Bankrptcy Code. No cost or expense       other
                                                                                                        of
 administration under sections 105, 364(c)(1), 503(b), 506(c), 507(b) of the Bankptcy Code, any

 section of the Bankrptcy Code, or pursuant to any order of the Bankptcy Court, shall be senior to,
                                                                                            judgment
 equal to, or pari passu with, the superpriority administrative claim of the Letter of Credit          lien or
                                                                                              Issuers arising
 out of     the Obligations, whether or not such claims or expenses may become secured by a

 other non-consensual
                                  lien, levy or attachment.

                1.4 Grant of Lien in Cash Collateral Accounts ursuant to Sections 364 c 2 and Section
 364(c)(3). (a) As security for all LlC Obligations, the Account Part hereby grants to the Agent, for the
 benefit of the Agent, the Letter of Credit Issuers and, subject to Section 3.3(b), the other holders of the
 Obligations, a continuing security interest in, lien on, and right of set-off against the LlC Cash Collateral
 Account, all money, cash, Cash Equivalents or other propert deposited in or credited to the LlC Cash
 Collateral Account, and all accessions to, substitutions for and replacements, products and proceeds of
 any of  the foregoing and, subject to Section 3.3(b), a continuing security interest in, lien on, and right of
 set-off against the FIX Hedge Cash Collateral Account, the Commodity Hedge Cash Collateral Account,
  all money, cash, Cash Equivalents or other propert deposited in or credited thereto and all accessions to,
  substitutions for and replacements, products and proceeds of any of the foregoing; (b) as security for all
  FIX Hedge Obligations, the Account Part hereby grants to the Agent, for the benefit ofthe     theObligations,
                                                                                                    Agent, the
   holders of       the FIX Hedge Obligations and, subject to Section 3.3(b), the other holders of

   a continuing security interest in, lien on, and right of set-off against the FIX Hedge Cash Collateral
   Account, all money, cash, Cash Equivalents or other propert deposited in or credited to the FIX Hedge
   Cash Collateral Account, and all accessions to, substitutions for and replacements, products and proceeds
   of any of the foregoing and, subject to Section 3 .3(b), a continuing security interest in, lien on, and right
   of set-off against the LlC Cash Collateral Account, the Commodity Hedge Cash Collateral Account, all
   money, cash, Cash Equivalents or other propert deposited in or credited thereto and all accessions to,
   substitutions for and replacements, products and proceeds of any of the foregoing; and ( c) as security for
   all Commodity Hedge Obligations, the Account Part hereby grants to the Agent, for the benefit of the
   Agent, the holders of
                           the Commodity Hedge Obligations and, subject to Section 3.3(b), the other holders
   of the Obligations, a continuing security interest in, lien on, and right of set-off against the Commodity
    Hedge Cash Collateral Account, all money, cash, Cash Equivalents or other propert deposited in or
    credited to the Commodity Hedge Cash Collateral Account, and all accessions to, substitutions for and
     replacements, products and proceeds of any of the foregoing and, subject to Section 3 .3(b), a continuing
     security interest in, lien on, and right of set-off against the LlC Cash Collateral Account, the FIX Hedge
     Cash Collateral Account, all money, cash, Cash Equivalents or other propert deposited in or credited
     thereto and all accessions to, substitutions for and replacements, products and proceeds of any of the
     foregoing. It is the intent of the parties hereto that, effective on and after the date of the entry by the
     Bankptcy Court of the Facility Order, notwithstanding any term to the contrary       herein,
                                                                                  the Agent       in accordance
                                                                                             granted pursuant to
                                                the Bankptcy Code, the Liens of
     with sections 364(c)(2) and 364(c)(3) of

      this Section 1.4 shall constitute Liens that are senior in priority to all other Liens, whether now existing or
      hereafter acquired, over any and all unsecured pre-petition claims, all post-petition claims and all
      administrative expenses of the kinds specified in, or arising or ordered under any sections of the
                                                                                     5                                    029123-0013
          CH\115197.12
            Case 01-01139-AMC            Doc 24156-2        Filed 01/15/10       Page 30 of 44




Bankrptcy Code, including, without limitation, sections 503(b), 105,326,328,330,331, 506(c), 507(a),
507(b), 546(c), 726 and 1112 of the Bankptcy Code, whether or not such claims or expenses may
become secured by a judgment lien or other non-consensual        lien, levy or attachment, and such Liens, in
accordance with sections 364(c)(2) and 364(c)(3) of       the Bankptcy Code, shall at all times be senior to
the nghts of the Account Part, any Chapter 11 trstee, any Chapter 7 trstee, or any other creditor
(including, without limitation, post-petition vendors and other post-petition creditors) in the Bankptcy
Case or any subsequent proceedings under the Bankptcy Code, including, without limitation, any
chapter 7 case of the Account Par if the Bankptcy Case is converted to a case under chapter 7 of the
Bankptcy Code, other than valid and unvoidable liens or secunty interests to the extent and in the
amounts existing as of the commencement of the Bankptcy Case and Liens permitted by the Facility
Order.

        1.5 Bank Products. The Account Part may request, and the Agent may, in its sole and
absolute discretion, arrange for Account Part to obtain Bank Products from the Bank or the Bank's
Affliates, although Account Part is not required to do so. With respect to any Bank Products provided
by an Affiiate of the Bank, Account Part agrees to indemnify and hold the Agent, the Bank and the
Letter of Credit Issuers harmless from any and all costs and obligations now or hereafter incurred by the
Agent, the Bank or any of the Letter of Credit Issuers that arise from any indemnity given by the Agent to
its Affiiates related to such Bank Products; provided, however, nothing contained herein is intended to
limit the Account Part's nghts with respect to the Bank or its Affliates, if any, that anse as a result of
the execution of documents by and between the Account Part and the Bank that relate to Bank Products.
The agreement contained in this Section shall survive termination of this Agreement. The Account Part
acknowledges and agrees that the obtaining of Bank Products from the Bank or the Bank's Affiliates (a)
is in the sole and absolute discretion of the Bank or the Bank's Affliates, and (b) is subject to all rules
and regulations of  the Bank or the Bank's Affliates.

                                                ARTICLE 2

                                          INTEREST AND FEES

         2.1 Interest.
                 (a) Interest Rates. All outstanding Obligations shall bear interest on the unpaid
pnncipal amount thereof (including, to the extent permitted by law, on interest thereon not paid when
due) from the date due until paid in full in cash at a rate per annum equal to the Base Rate plus 2.50%, but
in any event not to exceed the Maximum Rate. All interest charges shall be computed on the basis of a
year of 360 days and actual days elapsed (which results in more interest being paid than if computed on
the basis of a 365-day year). Subject to prior payment, the Account Part shall pay to the Agent, for the
benefit of the applicable Letter of Credit Issuers, interest accrued on outstanding Obligations owing to
such Letter of Credit Issuers in arrears on the first day of each month hereafter and on the Termination
Date.

                 (b) Default Rate. If
                                           any Event ufDefault occurs and is continuing and thc Agcnt or
the Majority Letter of Credit Issuers in their discretion so elect, then, while any such Event of Default is
continuing, all of the Obligations shall bear interest at the Default Rate.

         2.2 Maximum Interest Rate. In no event shall any interest rate provided for hereunder
 exceed the maximum rate legally chargeable by any Letter of Credit Issuer under applicable law for such
 Letter of Credit Issuer with respect to obligations of the tye incurred hereunder (the "Maximum Rate").
 If, in any month, any interest rate, absent such limitation, would have exceeded the Maximum Rate, then
 the interest rate for that month shall be the Maximum Rate, and, if in future months, that interest rate

                                                       6
 CH\I135197.12                                                                                      029123-0013
                Case 01-01139-AMC                         Doc 24156-2                   Filed 01/15/10   Page 31 of 44




would otherwise be less than the Maximum Rate, then that interest rate shall remain at the Maximum Rate
until such time as the amount of interest paid hereunder equals the amount of interest which would have
been paid if the same had not been limited by the Maximum Rate. In the event that, upon payment in full
of the Obligations, the total amount of interest paid or accrued under the terms of this Agreement is less
than the total amount of interest which would, but for this Section 2.2, have been paid or accrued if the
interest rate otherwise set forth in this Agreement had at all times been in effect, then the Account Part
shall, to the extent permitted by applicable law, pay the Agent, for the account of the Letter of Credit
Issuers, an amount equal to the excess of (a) the lesser of (i) the amount of interest which would have
been charged if the Maximum Rate had, at all times, been in effect or (ii) the amount of interest which
would have accrued had the interest rate otherwise set forth in this Agreement, at all times, been in effect
over (b) the amount of interest actually paid or accrued under this Agreement. If a court of competent
jurisdiction determines that the Agent and/or any Letter of Credit Issuer has received interest and other
charges hereunder in excess of the Maximum Rate, such excess shall be deemed received on account of,
 and shall automatically be applied to reduce, the Obligations other than interest, in the inverse order of
 maturity, and if there are no Obligations outstanding, the Agent and/or such Letter of Credit Issuer shall
 refund to the Account Part, on behalf of the Account Part, such excess.

            2.3 Facilty Fee: Administration Fee. The Account Part agrees to pay the Agent, for the
 Agent's sole account, on the date that t~e Facilty Order is entered:

                        (a) a facilty fee (the "Facility Fee") in the amount $250,000; and


                        (b) an administration fee (the "Administration Fee") in the amount of$75,000.

             2.4 Unused Line Fee. On the first day of each month and on the Termination Date, the
 Account Part agrees to pay to the Agent, for the account of the Letter of Credit Issuers, in accordance
 with their respective Pro Rata Shares, an unused line fee (the "Unused Line Fee") equal to the Applicable
 Percentage times the amount by which the aggregate Commitments exceeded the average daily undrawn
 face amount of outstanding Letters of Credit during the immediately preceding month or shorter period if
 calculated for the first month hereafter or on the Termination Date. The Unused Line Fee shall be
 computed on the basis of a 360-day year for the actual number of days elapsed.

             2.5 Letter of Credit Fee. With respect to any month during which a Letter of Credit is
 outstanding, the Account Part agrees to pay to the Agent, for the account of Credit,
                                                                              the applicable
                                                                                      a fee (theLetter of
                                                                                                 "Letter
  Credit Issuers, in accordance with their respective Pro Rata Shares, for Letters of

  of Credit Fee") equal to 1.00% per annum, multiplied by the average daily maximum aggregate amount
  from time to time available to be drawn under all outstanding Letters of Credit during such month, and to
  each applicable Letter of Credit Issuer, all out-of-pocket costs, fees and expenses incurred by such Letter
  of Credit Issuer in connection with the application for, processing of, issuance of, or amendment to any
  Letter of Credit, which costs, fees and expenses shall include a "fronting fee" of one-quarter of one
  percent (0.25%) per annum of
                                  the average daily maximum aggregate amount from time to time available
  to be drawn under all outstanding standby Letters of Credit during such month, payable to the Letter of
  Credit Issuer. The Letter of Credit Fee and such "fronting fee" shall be payable monthly in arrears on the
  first of each month following any month in which a Letter of Credit is outstanding and on the
  Termination Date. The Letter of Credit Fee shall be computed on the basis of a 360-day year for the
   actual number of days elapsed.




                                                                                 7
                                                                                                                         029123-0013
    CH\I135197.12
             Case 01-01139-AMC                            Doc 24156-2            Filed 01/15/10    Page 32 of 44




                                                               ARTICLE 3

                                             TERMINATION AND PAYMENTS

        3.1 Termination ofFacilitv. The Account Part may terminate this Agreement upon at least
ten (10) Business Days' notice to the Agent and the Letter of Credit Issuers upon the payment in full in
cash of all reimbursable expenses and other Obligations. The Agent and the Letter of Credit Issuers shall
be entitled to assume (without any investigation) that any notice required to be delivered hereunder by the
Account Part to the Committee has been so delivered.

        3.2 Payments bv the Account Part.
                                                                                                         .
                    (a) All payments to be made by the Account Part shall be made without set-off,
recoupment or counterclaim. Except as otherwise expressly provided herein, all payments by the Account
Part shall be made to the Agent for the account of
                                                   the Agent or the applicable Letter of Credit Issuers, as
applicable, at the account designated by the Agent and shall be made in Dollars and in immediately
available funds, no later than 12:00 noon (New York time) on the date specified herein. Any payment
received by the Agent after such time shall be deemed (for purposes of calculating interest only) to have
been received on the following Business Day and any applicable interest or fee shall continue to accrue.

                 (b) Whenever any payment is due on a day other than a Business Day, such payment
shall be due on the following Business Day, and such extension of time shall in such case be included in
the computation of interest or fees, as the case may be.
                                                                                                  the Agent to withdraw funds
                    (c) Subject to Section 3.3(b), in addition to the right of

from the Cash Collateral Accounts for the payment of reimbursement obligations and interest thereon as
contemplated in Section 1.2(e), the Agent shall be entitled, without the need for further action or consent
of the Account Part, to withdraw funds on deposit in the Cash Collateral Accounts to pay any other
Obligations that have not been paid by the Account Part within 5 Business Days after delivery by the
Agent to the Account Part of an invoice for such Obligations as due in accordance with their terms.

         3.3 Apportionment, Application and Reversal of
                                                                                   Payments.

                     (a) Generally. Payments of the Obligations shall be apportioned ratably among the
 Letter of Credit Issuers (according to the aggregate unpaid Obligations owing to each Letter of Credit
 Issuer) and payments of the fees shall, as applicable, be apportioned ratably among the Letter of Credit
 Issuers, except for fees payable solely to Agent and except as provided in Section 11. 1 (b). All payments
 shall be remitted to the Agent and all such payments not constituting payment of specific fees shall be
 applied, ratably, subject to the provisions of
                                                this Agreement, first, to pay any fees, indemnities or expense
 reimbursements then due to the Agent from the Account Part; second, to pay any fees or expense
 reimbursements then due to the Letter of Credit Issuers from the Account Part; third, to pay unpaid
 reimbursement obligations in respect of Letters of Credit; and fourth, to the payment of any other
 Obligation. Subject to Scction 3.3(b), after tht: uccurrence and during the continuance of an Event of
 Default, the Agent and the Letter of Credit Issuers shall have the continuing and exclusive right to apply
 and reverse and reapply any and all such proceeds and payments to any portion ofthe Obligations.

                      (b) Application of Amounts on Deposit in Cash Collateral Accounts.
 Notwithstanding anything to the contrary set forth herein, in any other Letter of Credit Document or in
 any Swap Document: (i)(A) until the Commitments are terminated, no Letters of Credit remain
 outstanding and the LlC Obligations are indefeasibly paid in full in cash, the Agent shall only apply
 amounts on deposit in the LlC Cash Collateral Account, in accordance with this Agreement and the

                                                                          8
                                                                                                                     029123-0013
  CH\I135197.12
                Case 01-01139-AMC         Doc 24156-2       Filed 01/15/10         Page 33 of 44




priorities set forth in clause (a) above, to the LlC Obligations, and, (B) thereafter, the Agent shall apply
amounts on deposit in the LlC Cash Collateral Account, in accordance with the Swap Documents, pro
rata to the FIX Hedge Obligations and the Commodity Hedge Obligations then outstanding, if any;
(ii)(A) until the FIX Hedge Obligations are indefeasibly paid in full in cash and all transactions in
connection therewith under the Swap Documents have terminated, the Agent shall only apply amounts on
deposit in the FIX Hedge Cash Collateral Account, in accordance with the Swap Documents, to the FIX
Hedge Obligations, and, (B) thereafter, the Agent shall apply amounts on deposit in the FIX Cash
Collateral Account, in accordance with this Agreement and the priorities set forth in clause (a) above
(with respect to the LlC Obligations) or the Swap Documents (with respect to the Commodity Hedge
Obligations), pro rata to the LlC Obligations and the Commodity Hedge Obligations then outstanding, if
any; and (iii)(A) until the Commodity Hedge Obligations are indefeasibly paid in full in cash and all
transactions in connection therewith under the Swap Documents have terminated, the Agent shall only
apply amounts on deposit in the Commodity Hedge Cash Collateral Account, in accordance with the
Swap Documents, to the Commodity Hedge Obligations, and, (B) thereafter, the Agent shall apply
amounts on deposit in the Commodity Hedge Cash Collateral Account, in accordance with this
Agreement and the priorities set forth in clause (a) above (with respect to the LlC Obligations) or the
Swap Documents (with respect to the FIX Hedge Obligations), pro rata to the LlC Obligations and the
FIX Hedge Obligations then outstanding, if any.

            3.4 Indemnity for Returned Payments. If after receipt of any payment that is applied to the
 payment of all or any part of the Obligations, the Agent or any Letter of Credit Issuer, the Bank or any
 Affliate of the Bank is for any reason compelled to surrender such payment or proceeds to any Person
 because such payment or application of proceeds is invalidated, declared fraudulent, set aside, determined
 to be void or voidable as a preference, impermissible setoff, or a diversion of trust funds, or for any other
 reason, then the Obligations or part thereof intended to be satisfied shall be revived and continued and this
 Agreement shall continue in full force as if such payment or proceeds had not been received by the Agent
 or such Letter of Credit Issuer and the Account Part shall be liable to pay to the Agent and the Letter of
 Credit Issuers, and hereby do indemnify the Agent and the Letter of Credit Issuers and hold the Agent and
 the Letter of Credit Issuers harmless for the amount of such payment or proceeds surrendered. The
 provisions of this Section 3.4 shall be and remain effective notwithstanding any contrary action which
 may have been taken       by the Agent or any Letter of Credit Issuer in reliance upon such payment or
 application of proceeds, and any such contrary action so taken shall be without prejudice to the Agent's
 and the Letter of Credit Issuers' rights under this Agreement and shall be deemed to have been
 conditioned upon such payment or application of proceeds having become final and irrevocable. The
 provisions of this Section 3.4 shall survive the termination of this Agreement.

             3.5 Agent's and Letter of Credit Issuers' Books and Records: Monthly Statements. The
  Agent shall record the undrawn face amount of all outstanding Letters of Credit and the aggregate amount
  of unpaid reimbursement obligations outstanding with respect to the Letters of Credit from time to time
  on its books. In addition, each Letter of Credit Issuer may note the date and amount of each payment
  such reimbursement obligations in its books and records. Failure by Agent or any Letter of Credit Issuer
  to make such notation shall not affect the obligations of the Account Part with respect to Letters of
  Credit. The Account Part agree that the Agent's and each Letter of Credit Issuer's books and records
  showing the Obligations and the transactions pursuant to this Agreement and the other Letter of Credit
  Documents shall be admissible in any action or proceeding arising therefrom and shall constitute
  rebuttably presumptive proof thereof, irrespective of whether any Obligation is also evidenced by a
  promissory note or other instrument. The Agent wil provide to the Account Part a monthly statement of
  payments and other transactions pursuant to this Agreement. Such statement shall be deemed correct,
  accurate, and binding on the Account Part and an account stated (except for reversals and reapplications
  of payments made as provided in Section 3.3 and corrections of errors discovered by the Agent) unless
  the Account Part notifies the Agent in wrting to the contrary within thirt (30) days after such statement

                                                        9
                                                                                                     029123-0013
   CH\I135197.12
            Case 01-01139-AMC                         Doc 24156-2                   Filed 01/15/10   Page 34 of 44




is rendered. In the event a timely written notice of objections is given by the Account Par, only the
items to which exception is expressly made wil be considered to be disputed by the Account Part.

                                                               ARTICLE 4

                                TAXS. YIELD PROTECTION AND ILLEGALITY

         4.1 Taxes.
                                                                                                          Credit Issuer or the
                   (a) Any and all payments by the Account Part to each Letter of

Agent under this Agreement and any other Letter of Credit Document shall be made free and clear of, and
without deduction or withholding for any Taxes. In addition, the Account Part shall pay all Other Taxes.

                   (b) The Account Part jointly and severally agree to indemnify and hold harmless
each Letter of Credit Issuer and the Agent for the full amount of Taxes or Other Taxes (including any
Taxes or Other Taxes imposed by any jurisdiction on amounts payable under this Section) paid by any
Letter of Credit Issuer or the Agent and any liability (including penalties, interest, additions to tax and
expenses) arising therefrom or with respect thereto, whether or not such Taxes or Other Taxes were
correctly or legally asserted (and the Agent and each Letter of Credit Issuer agrees to use good faith
efforts to notify the Account Part of an assertion of an amount which the Account Part is liable for
pursuant to this Section 4.Hb)). Payment under this indemnification shall be made within thirt (30) days
 after the date such Letter of Credit Issuer or the Agent makes wrtten demand therefor to the Account
 Part.
                    (c) If
                                    the Account Part shall be required by law to deduct or withhold any Taxes or
 Other Taxes from or in respect of any sum payable hereunder to any Letter of Credit Issuer or the Agent,
 then:

                                 (i) the sum payable shall be increased as necessary so that, after making all
         required deductions and withholdings (including deductions and withholdings applicable to
         additional sums payable under this Section), such Letter of Credit Issuer or the Agent, as the case
         may be, receives an amount equal to the sum it would have received had no such deductions or
         withholdings been made;

                                 (ii) such Account Part shall make such deductions and withholdings;


                                 (iii) such Account Part shall pay the full amount deducted or withheld to the
          relevant taxing authority or other authority in accordance with applicable law; and

                                  (iv) without duplication of the amounts paid pursuant to clause (i) above,
          such Account Part shall also pay to each Letter of Credit Issuer or the Agent for the account of
          such Letter of Credit Issuer, at the time interest is paid, all additional amounts which the
          respective Letter of Credit Issuer specifies as necessary to preserve the after-tax yield such Letter
          of Credit Issuer would have received if such Taxes or Other Taxes had not been imposed.

                      (d) At the Agent's request, within thirt (30) days after the date of any payment by
  the Account Part of Taxes or Other Taxes, the Account Part shall furnish the Agent the original or a
  certified copy of a receipt evidencing payment thereof, or other appropriate evidence of payment.

                       ( e) If the Account Part is required to pay additional amounts to any Letter of Credit
   Issuer or the Agent pursuant to subsection ( c) of this Section 4.1, then such Letter of Credit Issuer shall

                                                                            10
                                                                                                                       029123-0013
   CH\1l35197.12
             Case 01-01139-AMC           Doc 24156-2        Filed 01/15/10      Page 35 of 44




use reasonable efforts (consistent with legal and regulatory restrctions) to change the jurisdiction of its
lending office so as to eliminate any such additional payment by such Account Part which may
thereafter accrue, if such change in the judgment of such Letter of Credit Issuer is not otherwise
disadvantageous to such Letter of Credit Issuer.

         4.2 Increased Costs. If any Letter of Credit Issuer shall have determned that (i) the
introduction of any Capital Adequacy Regulation, (ii) any change in any Capital Adequacy Regulation,
(ii) any change in the interpretation or administration of any Capital Adequacy Regulation by any central
bank or other Governmental Authority charged with the interpretation or administration thereof, or (iv)
compliance by such Letter of Credit Issuer or any corporation or other entity controlling such Letter of
Credit Issuer with any Capital Adequacy Regulation, affects or would affect the amount of capital
required or expected to be maintained by such Letter of Credit Issuer or any corporation or other entity
controllng such Letter of Credit Issuer and (taking into consideration such Letter of Credit Issuer's or
such corporation's or other entity's policies with respect to capital adequacy and such Letter of Credit
Issuer's desired return on capital) determines that the amount of such capital is increased as a
consequence of its Commitments, credits or obligations under this Agreement, then, upon demand of such
Letter of Credit Issuer to the Account Part through the Agent, the Account Part shall pay to such Letter
of Credit Issuer, from time to time as specified by such Letter of Credit Issuer, additional amounts
 suffcient to compensate such Letter of Credit Issuer for such increase.

         4.3 Certificates of Agent. If any Letter of Credit Issuer claims reimbursement or
 compensation under this Article 4, Agent shall determine the amount thereof and shall deliver to the
 Account Part (with a copy to the affected Letter of Credit Issuer) a certificate setting forth in reasonable
 detail the amount payable to the affected Letter of Credit Issuer, and such certificate shall be conclusive
 and binding on the Account Part in the absence of manifest error.

         4.4 Withholding Tax.

                   (a) If any Letter of Credit Issuer is a "foreign corporation, partnership or trust"
 within the meaning of the Code, such Letter of Credit Issuer shall be entitled to claim exemption from, or
 a reduction of, U.S. withholding tax under Sections 144l or 1442 of the Code or otherwise, and such
 Letter of Credit Issuer agrees with and in favor of the Account Part, to deliver to the Account Part:

                          (i) if such Letter of Credit Issuer is entitled to claim an exemption from, or a
          reduction of, withholding tax under a United States of America ta treaty, properly completed
          IRS Forms W-8BEN and W-8ECI before the payment of any interest in the first calendar year
          and before the payment of any interest in each third succeeding calendar year during which
          interest may be paid under this Agreement;

                           (ii) if such Letter of Credit Issuer is entitled to claim that interest paid under
          this Agreement is exempt from United States of America withholding tax because it is effectively
          connected with a United States of America trade or business of such Letter of Credit Issuer, two
          properly compleled and executed copies of IRS Form W -8ECI before the payment of any interest
          is due in the first taxable year of such Letter of Credit Issuer and in each succeeding laxable year
          of such Letter of Credit Issuer during which interest may be paid under this Agreement, and IRS
          Form W-9; and

                           (iii) such other form or forms as may be required under the Code or other
           laws of the United States of America as a condition to exemption from, or reduction of, United
           States of America witholding tax.


                                                       11
                                                                                                     029123-0013
   CH\1135197.12
                Case 01-01139-AMC                           Doc 24156-2    Filed 01/15/10      Page 36 of 44




Such Letter of Credit Issuer agrees to promptly notify the Account Part of any change in circumstances
which would modify or render invalid any claimed exemption or reduction.

          4.5 SurvivaL. The agreements and obligations of
                                                                             the Account Part in this Article 4 shall
survive the payment of all other Obligations.
                                                                ARTICLE 5

                                BOOKS AND RECORDS: FINANCIAL INORMATION:
                                        NOTICES: BANKUPTCY CASE

           5.1 Financial Information. The Account Part shall promptly furnish to each Letter of Credit
Issuer all such financial information as the Agent shall reasonably request. Without limiting the
foregoing, if and when the Company is no longer required to fie Forms 10-K and 10-Q with the SEC, the
Account Part wil furnish to the Agent, in such detail as the Agent or the Letter of Credit Issuers shall
request, the following:

                       (a) As soon as available, but in any event not later than one hundred five (105) days
 after the close of each Fiscal Year, consolidated audited balance sheets, and related consolidated income
 statements, cash flow statements and changes in stockholders' equity for the Company and its
 consolidated Subsidiaries for such Fiscal Year, together with the accompanying notes thereto, setting
 forth in each case in comparative form figures for the previous Fiscal Year, all in reasonable detail, fairly
 presenting in all material respects the financial position and the results of operations of the Company and
 its consolidated Subsidiaries or the Account Part on a consolidated basis, as applicable as at the date
 thereof and for the Fiscal Year then ended, and prepared in accordance with GAA. The audited
 statements required to be delivered pursuant to the immediately preceding sentence shall be examined in
 accordance with generally accepted auditing standards by PricewaterhouseCoopers or other independent
 certified public accountants selected by the Company and reasonably satisfactory to the Agent, and
 accompanied by a report of such accountants on such statements, which report shall be unqualified as to
 scope of audit. The Company hereby authorizes the Agent to communicate directly with its certified
 public accountants and, by this provision, authorizes those accountants to disclose to the Agent any and
 all financial statements and other supporting financial documents and schedules relating to the Company
 and its consolidated Subsidiaries and to discuss directly with the Agent the finances and affairs of the
 Company and its consolidated Subsidiaries.
                                   as available, but in any event not later than thirt (30) days after the end
                         (b) As soon

  of each month (other than any month that is also the last month of a fiscal quarter), (i) unaudited balance
  sheets of the Company and its consolidated Subsidiaries on a consolidated basis as at the end of such
  month and as at the end of the prior Fiscal Year, (ii) consolidated unaudited income statements for the
  Company and its consolidated Subsidiaries on a consolidated basis for such month and for the period
  from the beginning of the Fiscal Year to the end of such month, and (iii) unaudited cash flow statements
  for the Company and its consolidated Subsidiaries on a consolidated basis for such month and for the
  period from the beginning uf the Fiscal Y cnr to the end of such month, all in reasonable detail, fairly
  presenting the financial position and results of operations of the Company and its consolidat~d
   Subsidiaries on a consolidated basis as at the date thereof and for such periods, and prepared in
   accordance with GAAP (except for the absence or abbreviation of footnotes and subject to normal year-
   end adjustments) applied consistently with the audited Financial Statements required to be delivered
   pursuant to Section 5.2(a). The Account Part shall certify by a certificate signed by its chief financial
   offcer that all such statements have been prepared in accordance with GAAP (except for the absence or
   abbreviation of footnotes and subject to normal year-end adjustments) and present fairly the financial
   position of the Company and its consolidated Subsidiaries on a consolidated basis as at the dates thereof

                                                                      12                                           029 i 23-00 13
    CH\1135197.12
             Case 01-01139-AMC                      Doc 24156-2        Filed 01/15/10   Page 37 of 44




and the results of operations of the Company and its consolidated Subsidiares on a consolidated basis for
the periods then ended.

                    (c) As soon as available, but in any event not later than fort-five (45) days after the
end of each of the first three fiscal quarters of each Fiscal Year, unaudited balance sheets of the Company
and its consolidated Subsidiaries on a consolidated basis as at the end of such fiscal quarter, and
consolidated unaudited income statements and cash flow statements for the Company and its consolidated
Subsidiaries on a consolidated basis for such fiscal quarter and for the period from the beginning of the
Fiscal Year to the end of such fiscal quarter, all in reasonable detail, fairly presenting the financial
position and results of operations of the Company and its consolidated Subsidiaries on a consolidated
basis as at the date thereof and for such periods, and, in each case, in comparable form, figures for the
corresponding period in the prior Fiscal Year, and prepared in accordance with GAA (except for the
absence or abbreviation of footnotes and subject to normal year-end adjustments) applied consistently
with the audited Financial Statements required to be delivered pursuant to Section 5.l(a). The Account
Part shall certify by a certificate signed by its chief financial offcer that all such statements have been
prepared in accordance with GAAP (except for the absence or abbreviation of footnotes and subject to
normal year-end adjustments) and present fairly the financial position of the Company and its
consolidated Subsidiaries on a consolidated basis as at the dates thereof and the results of operations of
the Company and its consolidated Subsidiaries on a consolidated basis for the periods then ended.

                     (d) Within sixty (60) days after the end of each fiscal quarter a certificate of the
Account Part signed by its chief financial officer stating that, except as explained in reasonable detail in
such certificate, (A) all of the representations and warranties of the Account Part contained in this
Agreement and the other Letter of Credit Documents are correct and complete in all material respects as
at the last day of such quarter as if made at such time, except for those that speak as of a particular date,
(B) the Account Part is, at the date of such certificate, in compliance in all material respects with all of
its covenants and agreements in this Agreement and the other Letter of Credit Documents, and (C) no
Default or Event of Default then exists or existed during the period covered by the Financial Statements
for such month. If such quarterly certificate discloses that a representation or warranty is not correct or
complete, or that a covenant has not been complied with, or that a Default or Event of Default existed or
 exists, such certificate shall set forth what action the Account Part has taken or propose to take with
 respect thereto.

                     (e) Such additional information as the Agent and/or any Letter of Credit Issuer may
 from time to time reasonably request regarding the financial and business affairs of the Company or any
 Subsidiary.

          5.2 Notices to the Letter of              Credit Issuers. Promptly upon a Responsible Offcer becoming
 aware thereof, the Account Part shall notify the Agent and the Letter of Credit Issuers in writing of the
 following matters:

                      (a) any Default or Event of
                                                            Default;

                      (b) any pcnding or threatened action, suit, or proceeding, by any Person, or any
 pending or threatened investigation by a Governental Authority; or the rendering of any judgment
 against the Account Part in any action, suit or proceeding awarding damages, which would reasonably
 be expected to have a Material Adverse Effect;

                Each notice given under this Section shall describe the subject matter thereof in
 reasonable detail, and shall set forth the action that the Account Part, any Other Subsidiary, or any
 ERISA Affliate, as applicable, has taken or proposes to take with respect thereto.

                                                               13
                                                                                                         029123-0013
  CH\I135197.12
                   Case 01-01139-AMC                      Doc 24156-2                  Filed 01/15/10               Page 38 of 44




        5.3 Bankptcy Case. Promptly upon the fiing of each motion, application or similar filing
relating to the Bankptcy Case and promptly upon the entr of each order, decree or judgment relating to
one or more of the Bankptcy Case, the Account Part shall provide to, or cause to be provided to, the
Agent's counsel a copy of each such motion, application, fiing, order, decree or judgment; provided.
however, that this provision shall be deemed satisfied by inclusion of the Agent's counsel on the list
maintained in the Bankptcy Case pursuant to Fed.R.Bank.P. 2002 and actual service of the Agent's
counsel by the Account Part of all filings made by the Account Part in the Banptcy Case and all
orders, decrees or judgments relating to all such fiings by the Account Part.
                                                                     ARTICLE 6

                                  GENERAL WARRNTIES AND REPRESENTATIONS

                 The Account Part warrants and represents to the Agent and the Letter of Credit Issuers
that, except as hereafter disclosed to and accepted by the Agent and the Majority Letter of Credit Issuers
                                                              the Facilty Order:
in writing and subject to the entr by the Bankrptcy Court of

                                                                                                                                     Credit
                                                                                             this Agreement and the Letter of
            6.1 Authorization. Validity. and Enforceability of

 Documents. The Account Part has the corporate or other legal power and authority to execute, deliver
 and perform this Agreement and the other Letter of Credit Documents to which it is a part and to incur
 the Obligations. The Account Part has taken all necessary action (including obtaining  approval
                                                                                this Agreement  andof the
                                                                                                       its
 stockholders if       necessary) to authorize its execution, delivery, and performance of

 other Letter of Credit Documents to which it is a part. This Agreement and the other Letter of Credit
 Documents to which it is a part have been duly executed and delivered by the Account Part, and
 constitute the legal, valid and binding obligations of the Account Part, enforceable against itthis
                                                                                                  in
 accordance with their respective terms. The Account Part's execution, delivery, and performance of

 Agreement and the other Letter of Credit Documents to which it is a part do not and wil not (i) result in
 the imposition of any Lien (other than the Liens granted under the Letter of Credit Documents) upon the
 propert of the Account Part, by reason of the terms of (1) any contract, mortgage, lease, agreement,
 indenture, or instrument to which the Account Part is a part or which is binding upon it (including any
 of the foregoing entered into after the Petition Date), (2) any Requirement of Law applicable to the
 Account Party, or (3) the certificate of incorporation or by-laws of the Account Part or (ii) conflct with,
  or constitute a violation of (1) any contract, mortgage, lease, agreement, indenture, or instrument to which
  the Account Part is a part or which is binding upon it and that was entered into after the Petition Date,
  except where such conflct, violation or breach would not reasonably be expected to have a Material
  Adverse Effect, (2) any Requirement of
                                         Law applicable to the Account Part, except where such conflict,
  violation or breach would not reasonably be expected to have a Material Adverse Effect or (3) the
  certificate of incorporation or by-laws of the Account Part.
                                                               Security Interest. The provisions of
                                                                                                                    this Agreement and the other
              6.2 Validity and Priority of

  Letter of Credit Documents create legal and valid Liens on the Cash Collateral Accounts and all amounts
  deposited therein or credited thereto in favor of the Agent, for the ratable benefit of the Agent and the
  Letter of Credit Issuers, and such Liens constitute perfected and continuing Liens on such accounts and
  amounts, having the priority set forth in the Facility Order.

               6.3 Account Part's Organization and Oualification. The Account Part (a) is duly organized
   or incorporated and validly existing in good standing under the laws of the state of Connecticut, (b) is
   qualified to do business and is in good standing in all jurisdictions in which the failure to so qualify or be
   in good standing would reasonably be expected to have a Material Adverse Effect and (c) has all requisite
   power and authority to conduct its business and to own its propert, except where the failure to have such
   power and authority could not reasonably be expected to have a Material Adverse Effect.

                                                                                 14
                                                                                                                                              029123-0013
     CH\1135197.12
               Case 01-01139-AMC                         Doc 24156-2                  Filed 01/15/10            Page 39 of 44




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          6.4 Litigation. Except as set fort on Schedule 6.4, there is no pending, or to the best of

Account Part's knowledge threatened, action, suit, proceeding, or counterclaim against the Company or
any of its consolidated Subsidiaries before any Governental Authority or arbitrator or panels of
arbitrators that (i) may not be stayed as a result of the Bankptcy Case and (ii) would reasonably be
expected to have a Material Adverse Effect.

          6.5 Regulated Entities. The Account Part and no Person controllng the Account Part, is
an "Investment .Company" within the meaning of the Investment Company Act of 1940. The Account
Part is subject to regulation under the Public Utility Holding Company Act of 1935, the Federal Power
Act, the Interstate Commerce Act, any state public utilities code or law, or any other federal or state
statute or regulation limiting its ability to incur indebtedness.

                                 Proceeds: Margin Regulations. The proceeds of
                                                                                                       the Letters of   Credit are to be
          6.6 Use of

used solely for general corporate purposes arising after the date hereof. Neither the Account Part or any
Other Subsidiary is engaged in the business of purchasing or selling Margin Stock or extending credit for
the purpose of purchasing or caring Margin Stock. No par of the proceeds of any Letter of Credit wil
be used in violation of Regulation U of the Board of Governors of  the Federal Reserve System as in effect
from time to time.

           6.7 Full Disclosure. None of  the representations or warranties made by the Account Party in
the Letter of Credit Documents as of the date such representations and warranties are made or deemed
made, and none of the statements contained in any exhibit, report, statement or certificate furnished by or
on behalf of the Account Part or any Subsidiary in connection with the Letter of Credit Documents
 (including the offering and disclosure materials delivered by or on behalf of the Account Part to the
 Letter of Credit Issuers prior to the Closing Date), contains any untre statement of a material fact as of
 the date of any such exhibit, report, statement or certificate.

           6.8 Governmental Authorization. No approval, consent, exemption, authorization, or other
 action by, or notice to (other than notices of default hereunder), or filing with, any Governmental
 Authority or other Person (other than the Bankrptcy Court) is necessary or required in connection with
 the execution, delivery or performance by, or enforcement against, the Account Part of this Agreement
 or any other Letter of Credit Document, except the Bankrptcy Court and notices to creditors and
 stockholders required by the Bankrptcy Code.
                                                                     ARTICLE 7

                                          AFFIRMATIVE AND NEGATIVE COVENANTS

                   The Account Part covenants to the Agent and each Letter of Credit Issuer that so long as
 any of   the Obligations remain outstanding (other than not yet asserted indemnification obligations) or this
 Agreement is in effect:

            7.1 Legal Existence and Good Standing. The Account Part shall maintain its legal
 existence, and shall maintain its qualification and good stading in all jurisdictions in which the failure tu
 maintain such existence and qualification or good standing would reasonably be expected to have a
 Material Adverse Effect.

           7.2 Compliance with Law and Agreements. The Account Part shall comply, in all material
  respects, with all Requirements of Law of any Governmental Authority having jurisdiction over it or its
  business (including the Federal Fair Labor Standards Act and all Environmental Laws), except where the
  failure to do so could not reasonably be expected to have a Material Adverse Effect. The Account Part

                                                                                 15
                                                                                                                                    029123-0013
  CH\I135197.12
                 Case 01-01139-AMC                         Doc 24156-2           Filed 01/15/10   Page 40 of 44




shall not modify, amend or alter its certificate of incorporation other than in a manner which does not
adversely affect the rights of the Letter of Credit Issuers or the Agent in any material respect.

           7.3 Mergers and Consolidations. Except for the plan of reorganization in the Bankptcy
Case, the Account Part shall not enter into any transaction of merger, reorganization, or consolidation or
agree to do any of the foregoing (or apply to the Bankptcy Court for authority to do so) except for any
merger or consolidation of any Subsidiar of the Company with and into the Account Part or providing
its consent to or approval of any merger or consolidation of any Subsidiary of
                                                                               the Company with and into
another Subsidiary of           the Company.

            7.4 Use of             Proceeds. The Account Part shall not, nor shall the Account Part cause or
permit any Other Subsidiary to, use any portion of
                                                            the Letter of Credit proceeds, directly or indirectly, (i)
to purchase or carr Margin Stock, (ii) to repay or otherwise refinance indebtedness of the Account Part
or others incurred to purchase or carr Margin Stock, (iii) to extend credit for the purpose of purchasing
or carring any Margin Stock, (iv) to acquire any security in any transaction that is subject to Section 13
or 14 of     the Exchange Act, or (v) for any purpose other than general corporate purposes.

            7.5 Funding of Cash Collateral Accounts.


                         (a) FIX Hedge Cash Collateral Account. After notice (i) by the Agent to the
Account Part not later than 10:00 AM (New York time) on any Business Day, the Account Part shall
deposit, or cause to be deposited, not later than 4:00 PM on such Business Day, in the FIX Hedge Cash
Collateral Account, cash in the amount specified in such notice, which shall be the amount determined by
the Agent to be necessary to cause the aggregate balance of cash on deposit in the FIX Hedge Cash
Collateral Account to be equal to at least l15% of
                                                    the mark-to-market exposure of   the Bank with respect
to the FIX Hedge Obligations on such Business Day, it being understood and agreed that any amount
required to be so deposited shall be rounded upwards to the nearest $250,000, and (ii) by the Account
Part to the Agent not later than 10:00 AM (New York time) on any Business Day, the Ban shall
deposit, or cause to be deposited, not later than the close of such Business Day, in the account designated
by the Account Part in such notice, cash in the amount specified in such notice, which shall be the
amount agreed by the Account Part and the Agent to be the amount by which the balance of the FIX
Hedge Cash Collateral Account exceeds an amount equal to 115% of the mark-to-market exposure of the
Bank with respect to the FIX Hedge Obligations on such Business Day, it being understood and agreed
that any amount required to be so deposited shall be rounded up to the nearest $100,000 (but in any event
 such amount shall not cause the balance of the FIX Hedge Cash Collateral Account to be less than an
 amount equal to 115% of the mark-to-market exposure of the Bank with respect to the FIX Hedge
 Obligations on such Business Day).

                         (b) Commodity Cash Collateral Account. After notice (i) by the Agent to the
 Account Part not later than 10:00 AM (New York time) on any Business Day, the Account Part shall
 deposit, or cause to be deposited, not later than 4:00 PM on such Business Day, in the Commodity Hedge
  Cash Collateral Account, cash in the amount specified in such notice, which shall be the amount
  determined by the Agent to be necessary to cause the aggregate balance of cash on deposit in the
  Commodity Hedge Cash Collateral Account to be equal to at least 115% of
                                                                                                  the mark-to-market exposure
  ofthe Bank with respect to the Commodity Hedge Obligations on such Business Day, it being understood
  and agreed that any amount required to be so deposited shall be rounded upwards to the nearest $250,000,
  and (ii) by the Account Part to the Agent not later than 10:00 AM (New York time) on any Business
  Day, the Bank shall deposit, or cause to be deposited, not later than the close of such Business Day, in the
  account designated by the Account Part in such notice, cash in the amount specified in such notice,
  which shall be the amount agreed by the Account Part and the Agent to be the amount by which the
  balance of the Commodity Hedge Cash Collateral Account exceeds an amount equal to 115% of the

                                                                            16
                                                                                                                    029123-0013
   CH\I135197.12
            Case 01-01139-AMC             Doc 24156-2         Filed 01/15/10        Page 41 of 44




mark-to-market exposure of the Bank with respect to the Commodity Hedge Obligations on such
Business Day, it being understood and agreed that any amount required to be so deposited shall be
rounded up to the nearest $100,000 but in any event such amount shall not cause the balance of the
Commodity Hedge Cash Collateral Account to be less than an amount equal to 115% of the mark-to-
market exposure of the Bank with respect to the Commodity Hedge Obligations on such Business Day).

        7.6 Further Assurances. The Account Part shall execute and deliver, or cause to be
executed or delivered, to the Agent and/or the Letter of Credit "Issuers such documents and agreements,
and shall take or cause to be taen such actions, as the Agent or any Letter of Credit Issuer may, from
time to time, request to carr out the terms and conditions of this Agreement and the other Letter of Credit
Documents.

                                                  ARTICLE 8

                                       CONDITIONS TO ISSUANCE

        8.1 Conditions Precedent to Issuance of Initial Letter of Credit. The obligation of the Agent
to cause the Letter of Credit Issuer to issue the initial Letter of Credit (excluding the Existing Letters of
Credit), and the obligation of a Letter of Credit Issuer to issue the initial Letter of Credit, are subject to the
following conditions precedent having been satisfied in a manner satisfactory to the Agent and each
Letter of Credit Issuer (or waived in writing by the Agent and each Letter of Credit Issuer):

                 (a) This Agreement and the other Letter of Credit Documents shall have been
executed by each party thereto and the Account Part shall have performed and complied with all
covenants, agreements and conditions contained herein and the other Letter of Credit Documents which
are required to be performed or complied with by the Account Part before or on such date.

                 (b) All representations and warranties made hereunder and in the other Letter of
Credit Documents shall be true and correct as if made on such date.

                 (c) No Default or Event of Default shall have occurred and be continuing after
giving effect to the Letters of Credit to be issued on such date.

                (d) The Agent shall have received copies of (i) the certificate of incorporation , (ii)
the bylaws or other similar agreement and all amendments thereto, (ii) resolutions of the Board of
Directors of the Account Part approving and adopting the Letter of Credit Documents to which it is a
part, the transactions contemplated therein and authonzing execution and delivery thereof, in each case,
of the Account Part and certified by a secretary or assistant secretary of the Account Part to be true and
correct and in force and effect as of such date and (iv) a certificate of the Secretary or Assistant Secretary
 (or equivalent thereof) of the Account Part certifying as to the incumbency of the offcers of the Account
 Part executing one or more Letter of Credit Documents.

                  (e) Thc Account Part shall have paid all fees and expenses of the Agent and the
 Attorney Costs incurred in connection with any of the Letter of Credit Documents and the transactions
 contemplated thereby to the extent invoiced.

                  (f) All proceedings taken in connection with the execution of this Agreement, all
 other Letter of Credit Documents and all documents and papers relating thereto shall be satisfactory in
 form, scope, and substance to the Agent and the Letter of Credit Issuers.




                                                         17
                                                                                                        029123-0013
 Cff1135197.12
               Case 01-01139-AMC             Doc 24156-2           Filed 01/15/10         Page 42 of 44




                  (g) All orders entered in the Bankptcy Case shall be in form and substance
reasonably satisfactory to the Agent and its counseL.


                  (h) Without limiting the generality of the items described above, the Account Part
shall have delivered or caused to be delivered to the Agent (in form and substance reasonably satisfactory
to the Agent), the resolutions, documents, agreements, certificates and other items required by this
Section 8.1.

                  (i) The Agent shall have received a signed copy of the order (the "Facilty Order")
of the Bankptcy Court in substantially the form of Exhibit A authorizing and approving the transactions
contemplated hereby and the Letter of Credit Documents and the granting of the superpriority claim status
and liens as described in Section 1.3 and the Facilty Order. The Facility Order (i) shall be in form and
substance satisfactory to the Agent, (ii) shall be certified by the Clerk of the Bankrptcy Court as having
been duly entered, (iii) shall have authorized extensions of credit by the Letter of Credit Issuers in
amounts up to $100,000,000, (iv) shall approve the payment by the Account Part of all of the fees set
forth in Sections 2.3, 2.4 and 2.5, and (v) shall be in full force and effect and shall not have been vacated,
reversed, modified, amended or stayed.

                  G) The Account Part shall have (i) established each of the LlC Cash Collateral
Account, the FIX Hedge Cash Collateral Account and the Commodity Hedge Cash Collateral Account,
(ii) deposited in the FIX Hedge Collateral Account cash collateral in an amount equal to 115% of the
mark-to-market exposure of     the Ban with respect to the FIX Hedge Obligations as of                 the Closing Date as
determined by the Agent, (iii) deposited in the Commodity Hedge Collateral Account cash collateral in an
amount equal to 115% of    the mark-to-market exposure of                  the Bank with respect to the Commodity Hedge
Obligations as of the Closing Date as determined by the Agent and (iv) entered into account control
agreements, in form and substance satisfactory to the Agent, with respect to each of the Cash Collateral
Accounts.

                   The acceptance by the Account Part of any Letters of Credit issued on any date shall be
deemed to be a representation and warranty made by the Account Part to the effect that all of the
conditions precedent to the issuance of such Letters of Credit have been satisfied, with the same effect as
delivery to the Agent and the Letter of Credit Issuers of a certificate signed by a Responsible Officer of
the Account Part, dated such date, to such effect.

                 Execution and delivery to the Agent by a Letter of Credit Issuer of a counterpart of this
Agreement shall be deemed confirmation by such Letter of Credit Issuer that (i) the decision of such
Letter of Credit Issuer to execute and deliver to the Agent an executed counterpart of this Agreement was
made by such Letter of Credit Issuer independently and without reliance on the Agent or any other Letter
of Credit Issuer as to the satisfaction of any condition precedent set forth in this Section 8.1, and (ii) all
documents sent to such Letter of Credit Issuer for approval consent, or satisfaction were acceptable to
such Letter of Credit Issuer.

        8.2 Conditiomi Prcccdcnt to Each Issuance. The obligation of         the Agent to causi: a Letter of
Credit Issuer to issue any Letter of Credit and the obligation of any Letter of Credit Issuer to issue any
Letter of Credit shall be subject to the further conditions precedent that on and as of the date of any such
extension of credit (provided, however, that such conditions precedent are not conditions for any drawing
under a Letter of Credit):

                   (a) The following statements shall be true, and the acceptance by the Account Part
 of any extension of credit shall be deemed to be a statement to the effect set forth in clauses (i and !i




                                                            18
 CH\I135197.12                                                                                                 029123-0013
                  Case 01-01139-AMC                         Doc 24156-2              Filed 01/15/10   Page 43 of 44




with the same effect as the delivery to the Agent and the Letter of Credit Issuers of a certificate sigred by
a Responsible Offcer of the Account Part, dated the date of such extension of credit, stating that:

                                     (i) The representations and warranties contained in this Agreement and the
              other Letter of Credit Documents are correct in all material respects on and as of the date of such
              extension of credit as though made on and as of such date, other than any such representation or
              warranty which relates to a specified prior date and except to the extent the Agent and the Letter
              of Credit Issuers have been notified in writing by the Account Part that any representation or
              warranty is not correct and the Majority Letter of Credit Issuers have explicitly waived in wrting
              compliance with such representation or warranty; and

                                      (ii) No event has occurred and is continuing, or would result from such
              extension of credit, which constitutes a Default or an Event of
                                                                                               Default; and

                                      (iii) No event has occurred and is continuing, or would result from such
              extension of credit, which has had or would reasonably be expected to have a Material Adverse
              Effect.

                          (b) The aggregate face amount of the requested Letters of Credit shall not exceed
Availability.

                          (c) The Bankrptcy Case shall not have been dismissed or converted to chapter 7 of
the Bankptcy Code, the Account Part shall not have fied an application for an order dismissing the
Bankptcy Case or converting its or any other Account Part's Bankptcy Case to a case under chapter
7 of the Bankrptcy Code, and no trustee under chapter 7 or chapter 11 of the Bankrptcy Code shall have
been appointed in the Bankruptcy Case. No application shall have been fied by the Account Part for the
 approval of any other superpriority administrative claim in the Bankptcy Case which is pari passu with
 or senior to the claims of the Agent and/or any Letter of Credit Issuer arising under this Agreement
 against the Account Part and the Facility Order shall not have been stayed, modified, amended, reversed,
 rescinded or vacated.

                                                                       ARTICLE 9

                                                              DEFAULT: REMEDIES

               9.1 Events of Default. It shall constitute an event of default ("Event of Default") if anyone
 or more of       the following shall occur for any reason:

                           (a) (i) any failure by the Account Part to pay any reimbursement obligations
 relating to Letters of Credit when due, whether upon demand or otherwise, or (ii) any failure by the
 Account Part to pay any interest on any of the Obligations or any fees or other Obligations or other
 amount owing hereunder within three (3) Business Days of
                                                          the applicable due date, whether upon demand
 or otherwise;

                           (b) any representation or warranty made or deemed made by the Account Part in
 this Agreement or in any of the other Letter of Credit Documents, any Financial Statement, or any
 certificate furnished by the Account Part or any Other Subsidiary at any time to the Agent or any Letter
 of Credit Issuer pursuant to any Letter of Credit Document shall prove to be untre in any material respect
 as of the date on which made, deemed made, or furnished;




                                                                                19
                                                                                                                      029123-0013
  CH\I135197.12
                Case 01-01139-AMC                         Doc 24156-2         Filed 01/15/10   Page 44 of 44




                      (c) (i) any default shall occur in the observance or performance of any of the
covenants and agreements contained in Sections 7.1 or 7.3, (ii) any default shall occur in the observance
or performance of any of the covenants and agreements contained in Section 7.5, and such default shall
continue for two (2) Business Days or more, (iii) any default shall occur in the observance or performance
of any of the covenants and agreements contained in Sections 5.1 or 5.2, and such default shall continue
for five (5) Business Days or more; or (iv) any default shall occur in the observance or performance of
any of the other covenants or agreements contained in any other Section of this Agreement, any other
Letter of Credit Document or any Swap Document, and such default described in this clause (iv) shall
continue for fifteen (15) days or more;

                       (d) the Account Part shall fie a certificate of dissolution under applicable state law
or shall be liquidated, dissolved or wound-up or shall commence any action or proceeding for dissolution,
winding-up or liquidation, or shall take any corporate action in furtherance thereof;

                       (e) all or any material part of the propert of the Account Part and its Subsidiaries,
taken as a whole, shall be nationalized, expropriated or condemned, seized or otherwise appropriated, or
custody or control of such propert or of the Account Part shall be assumed by any Governmental
Authority or any court of competent jurisdiction at the instance of any Governmental Authority, except
where contested in good faith by proper proceedings diligently pursued where a stay of enforcement is in
 effect;

                        (f) other than in accordance with its terms or by agreement of its parties, any Letter
 of Credit Document shall be terminated, revoked or declared void or invalid or unenforceable or
 challenged by the Account Part or any other obligor;

                 (g) one or more judgments, orders, decrees or arbitration awards is entered against
 the Account Part involving in the aggregate liability (to the extent not covered by independent third-
 part insurance as to which the insurer does not dispute coverage) as to any single or related or unrelated
 series of transactions, incidents or conditions, of $10,000,000 thirt
                                                                    or more,   and the same shall remain
                                                                          (30) days after the entry thereof;
 unsatisfied, unvacated and unstayed pending appeal for a period of



                         (h) there is fied against the Account Part or any Other Subsidiary any action, suit
 or proceeding under any federal or state racketeering statute (including the Racketeer Influenced and
  Corrpt Organization Act of 1970), which action, suit or proceeding (i) is not dismissed within one
  hundred twenty (120) days, and (ii) would reasonably be expected to result in the confiscation or
  forfeiture of any material portion of the assets of the Account Part;

                         (i) for any reason any Letter of Credit Document ceases to be in full force and
  effect;

                 G) (i) an ERISA Event shall occur with respect to a Pension Plan or Multi-employer
  Plan which has resulted or would reasonably be expected to result in liability of the Account Part under
  Title TV of ERISA to the Pension Plan, Multi-employer Plan or the PBGC and such liability would
  reasonably be expected to cause a Material Adverse Effect; or (ii) the Account Part or any ERISA
  Affliate shall fail to pay when due, after the expiration of any applicable grace period, any installment
  payment with respect to its withdrawal
                                            liability under Section 4201 of ERISA under a Multi-employer
  Plan in an aggregate amount in excess of
                                                               $25,000,000;

                (k) the Bankptcy Case shall be dismissed or converted to a case under chapter 7 of
   the Bankptcy Code, or the Account Part shall file an application for an order dismissing the
   Bankrptcy Case or converting the Bankptcy Case to a case under chapter 7 of the Bankptcy Code; or

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